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     1                 IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
     2                            EASTERN DIVISION
     3
          IN RE:    NATIONAL PRESCRIPTION           ) No. 17-md-2804
     4    OPIATE LITIGATION NO. 2804                )
                                                    )
     5    APPLIES TO ALL CASES                      ) Hon. Dan A. Polster
                                                    )
     6
     7                           HIGHLY CONFIDENTIAL
     8             SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
     9
                       VIDEO DEPOSITION OF TIFFANY KILPER
    10
                                  February 9, 2019
    11                                 9:05 a.m.
    12
    13
    14
    15
                   Reporter:     John Arndt, CSR, CCR, RDR, CRR
    16                           CSR No. 084-004605
                                     CCR No. 1186
    17
    18
    19
    20
    21
    22
    23
    24

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     1                 DEPOSITION OF TIFFANY KILPER
          produced, sworn, and examined on February 9, 2019, at
     2    Bryan Cave Leighton Paisner LLP, 211 North Broadway,
          Suite 3600, in the City of St. Louis, State of
     3    Missouri, before John Arndt, a Certified Shorthand
          Reporter and Certified Court Reporter.
     4
     5                        APPEARANCES OF COUNSEL
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          On Behalf of Plaintiffs:
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                 (206) 623-1900
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          On Behalf of Tennessee Action:
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                       branjan@jonesday.com
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     1                 APPEARANCES OF COUNSEL (CONTINUED)
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          On Behalf of Cardinal Health:
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                       jmeyer@armstrongteasdale.com
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     8           800 Boylston Street
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     9           (617) 951-7000
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    16           70 West Madison Street, Suite 4200
                 Chicago, IL 60602
    17           (312) 583-2434
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    18                 caitlin.mika@arnoldporter.com
                       (present via speakerphone)
    19
    20    Also present:      James Arndt, videographer
    21
    22
    23
    24

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     1                    THE VIDEOGRAPHER:       We are now on the

     2    record.    My name is James Arndt.         I'm a videographer

     3    for Golkow Litigation Services.           Today's date is

     4    February 9th, 2019, and the time is 9:05 AM.

     5                    This video deposition is being held in St.

     6    Louis, Missouri, in the matter of the National

     7    Prescription Opiate Litigation, for the United States

     8    District Court for the Northern District of Ohio,

     9    Eastern Division.       The deponent is Tiffany

    10    Rowley-Kilper.

    11                    Will counsel please identify themselves?

    12                    MS. GAFFNEY:      Alison Gaffney from Keller

    13    Rohrback, for the plaintiffs.

    14                    MR. KAWAMOTO:      Dean Kawamoto, Keller

    15    Rohrback, for the plaintiffs.

    16                    MS. MEYER:      Julie Fix Meyer, Armstrong

    17    Teasdale, for Cardinal Health.

    18                    MS. RANJAN:      Brandy Ranjan from Jones Day

    19    for Walmart.

    20                    MS. REN:     Feifei Andrea Ren from Ropes &

    21    Gray for Mallinckrodt LLC, SpecGX LLC, and Tiffany.

    22                    MR. DAVISON:      William Davison of Ropes &

    23    Gray for Mallinckrodt LLC, SpecGX LLC, and the witness.

    24                    THE VIDEOGRAPHER:       Will counsel on the

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     1    phone please identify themselves?

     2                    MS. MIKA:     Caitlin Mika --

     3                    MS. HERZFELD:      Tricia Herzfeld from

     4    Branstetter, Stranch & Jennings for the Tennessee

     5    plaintiffs.

     6                    MS. MIKA:     Caitlin Mika, Arnold & Porter,

     7    for the Endo and Par entities.

     8                    MR. BLAKE:      Ryan Blake with Reed Smith on

     9    behalf of AmerisourceBergen.

    10                    THE VIDEOGRAPHER:       The court reporter is

    11    John Arndt, and he will now swear in the witness.

    12

    13             The witness, TIFFANY KILPER, first having

    14    been duly sworn, testified as follows:

    15                                EXAMINATION

    16    BY MS. GAFFNEY:

    17             Q.     Good morning, Ms. Rowley-Kilper.           Could

    18    you please state and spell your full name for the

    19    record?

    20             A.     Sure.    Tiffany Kilper.       T-I-F-F-A-N-Y,

    21    K-I-L-P-E-R.

    22             Q.     Okay, great.      And Ms. Kilper, you

    23    understand you're under oath today?

    24             A.     I do.

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     1             Q.     Are you taking any medication or is there

     2    any reason that would prevent you from answering every

     3    question truthfully today?

     4             A.     No.

     5             Q.     Have you ever been deposed before?

     6             A.     I have not.

     7             Q.     So just a few ground rules, mostly so we

     8    can help the court reporter.          We don't want to talk

     9    over each other.       He'll be recording every word that we

    10    say, so for the sake of having a clear record we don't

    11    want to speak at the same time.           So if you wait for me

    12    to finish asking a question before answering, I will

    13    wait for you to finish answering before asking another

    14    question.

    15             A.     Okay.

    16             Q.     And then when you answer a question, you

    17    need to answer it verbally rather than uh-huh or

    18    nodding, shaking head.

    19             A.     Okay.

    20             Q.     If I ask a question that you don't

    21    understand, please let me know.           I'll try to rephrase

    22    it.   Okay.

    23                    Are you represented by counsel today?

    24             A.     Yes.

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      1             Q.      And who are they?

      2             A.      Bill Davison and Andrea Ren.

      3             Q.      Okay.    Great.    And are you paying them for

      4    representing you here today?

      5             A.      No.

      6             Q.      And to your knowledge, is Mallinckrodt

      7    paying them for representing you here today?

      8             A.      I would assume so.

      9             Q.      So the first exhibit is the deposition

     10    notice.     Here you go.      It's been marked as Exhibit 1.

     11                     [Exhibit Mallinckrodt-Rowley-Kilper-001

     12                     marked for identification.]

     13             Q.      Have you seen this before?

     14             A.      Yes.

     15             Q.      When did you first see it?

     16             A.      When I opened it last night.

     17             Q.      Got it.     If you just flip through,

     18    Schedule A defines the documents that you need to

     19    bring, and then after the definitions -- the documents

     20    to be produced, and the last page, Request For

     21    Production Number 2, asks for all documents, including

     22    electronic data and e-mail, in your possession related

     23    in any way to any defendants, manufacturer, marketing,

     24    sale, distribution, suspicious order monitoring, and

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      1    lobbying efforts in connection with its opioid

      2    business.

      3                     Have you searched through your personal

      4    documents and provided them to counsel?

      5             A.      Yes.

      6             Q.      And were there any documents in your own

      7    possession that were responsive?

      8             A.      No.

      9             Q.      Okay.    Great.    When you were at

     10    Mallinckrodt, did you use your personal e-mail for

     11    Mallinckrodt business ever?

     12             A.      No.

     13             Q.      How about text messages?          Did you ever

     14    text for Mallinckrodt business?

     15             A.      No.

     16             Q.      What did you do to prepare for your

     17    deposition today?

     18             A.      I met with my attorneys.

     19             Q.      How many times?

     20             A.      Just once.

     21             Q.      And did you review any documents?

     22             A.      Yes.

     23             Q.      What categories of documents did you

     24    review?

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      1                     MR. DAVISON:      I'm just going to -- you can

      2    tell what categories.         I don't want you to get into any

      3    specific documents that we reviewed.             So you can say at

      4    a high level, but nothing into any specific documents.

      5             A.      Okay.    We looked at e-mails that were

      6    exchanged.     We looked at spreadsheets that -- I have

      7    some spreadsheet friends my time there.              That's all I

      8    remember, really.

      9    BY MS. GAFFNEY:

     10             Q.      And other with your -- other than with

     11    your attorneys, did you speak to anyone else about your

     12    deposition today?

     13             A.      No.

     14             Q.      No former colleagues, friends?

     15             A.      No.

     16             Q.      Are you related to Jeff Kilper, who was

     17    deposed earlier this week?

     18             A.      Yes.

     19             Q.      Did you speak to him about your

     20    deposition?

     21             A.      Not about details of it.

     22             Q.      What did you talk to him about?

     23             A.      Just that we were -- that it -- when it

     24    was happening and the process of being here, yeah.

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      1             Q.      Let's see.     Are you being reimbursed at

      2    all for your time here today?

      3             A.      Nope.

      4             Q.      All right.     Thank you for being here.

      5    When did you start working at Mallinckrodt?

      6             A.      I took a temporary job there in 1999 and

      7    then I was hired in 2000 as a full-time employee.

      8             Q.      And what were your responsibilities when

      9    you started in 1999?

     10             A.      It's a test of memory.

     11             Q.      Yes.

     12             A.      But I was a temp for a time being a

     13    deduction analyst, is what they called it, I believe,

     14    and essentially I was matching debits and credits, and

     15    it was just a financial position.            Low-level financial

     16    position.

     17             Q.      I'll hand you what's been marked as

     18    Exhibit 2.     And this will help a little bit with the

     19    memory test.

     20                     [Exhibit Mallinckrodt-Rowley-Kilper-002

     21                     marked for identification.]

     22             Q.      An early r?sum?, and for the record this

     23    is Bates number ending in 8005925.             So you mentioned

     24    your responsibilities when you first started in a

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      1    temporary position.

      2                     Can you walk me through how your

      3    responsibilities evolved over your time at

      4    Mallinckrodt?

      5             A.      Sure.    So I was hired then -- after doing

      6    deductions for a time, I was hired permanently in that

      7    position and -- under the finance team, and then I, it

      8    looks like in 2001, took a position as a senior

      9    contract administrator.         Did you want me to go into the

     10    roles in --

     11             Q.      Yeah, so how is that -- a senior contract

     12    administrator different from the distributor deduction

     13    analyst position?

     14             A.      Sure.    So the contract administrators

     15    basically worked on drafting the contracts with our

     16    customers.     We worked with legal, and we would put the

     17    contract together and send it out to the customer, and

     18    then we would enter the pricing into the system.

     19                     So it was a totally different position

     20    than the deductions analyst.           That was just really an

     21    accounting role to match debits and credits and try to

     22    analyze the remaining difference if there was one.

     23             Q.      Got it.     Okay.    Thank you.

     24             A.      And then I was promoted to, I believe,

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      1    lead -- yeah, lead senior contract administrator.                 Just

      2    more of a supervisory role, taking the lead on process

      3    improvement, things like that, and then eventually

      4    promoted to supervisor in 2004, which just was

      5    officially hiring and leading the team that did that.

      6             Q.      And after that 2004-2005 time period, did

      7    you stay in contract administration?

      8             A.      I did not.

      9             Q.      Where did you go to after that within

     10    Mallinckrodt?

     11             A.      So they created a role that they called

     12    trade compliance, and it was an effort to kind of

     13    utilize my background in contracts to help resolve

     14    issues with our distributors and work on -- they called

     15    DSA, distribution services agreements, and implement

     16    some process improvement.

     17                     It was kind of a catch-all role that had a

     18    lot of different functions to it, but that was kind of

     19    the trade-compliance piece, and then from there they

     20    just promoted the position to what they called trade

     21    relations manager, which was just a change in title but

     22    essentially the same job, just a little bit higher

     23    level, getting to see some of the distributors

     24    face-to-face.

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      1                     Just -- yeah, really just an effort to

      2    promote me, I think, and make it a higher-level

      3    position.     That's all.

      4             Q.      Okay.    Great.    This is what's been marked

      5    Exhibit 3.

      6                     [Exhibit Mallinckrodt-Rowley-Kilper-003

      7                     marked for identification.]

      8             Q.      For the record, this is Bates-numbered

      9    ending in 8005956.        This is a performance evaluation

     10    from October 2002.        I have a question about just one

     11    part of it.

     12                     On Page 4, in the box that says expected

     13    result, it says become more exposed to the chargeback

     14    group and their importance and functions in the

     15    department.      Can you explain that to me, please?

     16                     MR. DAVISON:      Objection.      Form.

     17             A.      I'm sorry.     Which expected result?          I see

     18    four on this page.

     19    BY MS. GAFFNEY:

     20             Q.      The top one?

     21             A.      Become more exposed to the chargeback

     22    group?    Yeah, so it was an effort to sit with the folks

     23    that actually processed the chargebacks and kind of

     24    understand -- the contracts team entered the pricing,

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      1    and the chargebacks team processed the chargeback, so

      2    it was an effort to kind of understand how those two

      3    things correlated together.

      4             Q.      And how do they correlate together?

      5             A.      Well, the pricing that I would enter into

      6    the system would be the basis for that reimbursement

      7    back to the distributor in a chargeback.               So if I were

      8    to make a mistake on the pricing system, it would cause

      9    significant effects in chargebacks being inaccurately

     10    paid, so that was kind of an effort for us to do a

     11    better job, I think.

     12             Q.      And then the result here -- during a

     13    special project given to the entire contract

     14    administration department, Tiffany was responsible for

     15    sitting with each member of the chargeback department

     16    to better understand that side of the business.

     17                     So when it says that you were responsible

     18    for sitting with each member of the chargeback

     19    department -- and I know this is going back to 2002,

     20    but do you remember doing that?

     21             A.      No.

     22             Q.      Just generally speaking, in terms of how

     23    the departments were organized, this refers to the

     24    chargeback department and the contract administration

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      1    department.

      2                     Were those connected within the same

      3    business unit, or were they -- how was it organized at

      4    Mallinckrodt?

      5                     MR. DAVISON:      Objection to form.

      6             A.      At the time I believe that the

      7    contracts -- they switched around a lot, but I think

      8    during this time the chargeback group was under

      9    shared -- what they considered shared service finance,

     10    and the contracts were under the business unit.

     11                     So -- they were in different buildings,

     12    too, which made discrepancies difficult to resolve.                  So

     13    that I think this was all an effort to streamline and

     14    try to understand what -- when there's discrepancies,

     15    how they're caused, and how we can do a better job of

     16    understanding how the two functions could come together

     17    and help each other a little bit.            Makes sense.

     18             Q.      Okay.    Thank you.      Here's what's been

     19    marked as Exhibit 4.

     20                     [Exhibit Mallinckrodt-Rowley-Kilper-004

     21                     marked for identification.]

     22             Q.      Bates number ending in 8005909, and this

     23    appears to be a letter from the HR department stating

     24    that you were an employee of Covidien, formerly known

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      1    as Tyco Health Care, from March 21st, 2001, to February

      2    5th, 2011.

      3                     Do those dates seem accurate to you?

      4             A.      Yes.

      5             Q.      And just to clarify for the record,

      6    because there are documents that refer to Covidien as

      7    well as Mallinckrodt, understanding that legally those

      8    are separate entities, but when I refer to Mallinckrodt

      9    today, for purposes of today's deposition, can we have

     10    an understanding that Covidien and Mallinckrodt are the

     11    same?

     12             A.      Yes.

     13             Q.      Why did you leave Mallinckrodt in 2011?

     14             A.      To stay home.      We were in the process of

     15    adopting, and I wanted to stay home with my son.

     16             Q.      And are you currently working?

     17             A.      I am.

     18             Q.      Where do you work now?

     19             A.      The Salvation Army.

     20             Q.      So I have some general questions.            What is

     21    a chargeback?

     22                     MR. DAVISON:      Objection to form.

     23             A.      Let's see.     A chargeback was -- or is a

     24    payment to a distributor to reimburse them for the

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      1    difference between the wholesaler acquisition cost that

      2    they purchased it from the manufacturer at and the

      3    distributor's customers price or contract price with

      4    their customer.

      5    BY MS. GAFFNEY:

      6             Q.      Is this a practice that's widespread

      7    throughout the pharmaceutical industry to your

      8    knowledge?

      9                     MR. DAVISON:      Objection --

     10             A.      To my knowledge, yes.

     11    BY MS. GAFFNEY:

     12             Q.      And to your knowledge, is it applied to

     13    both brand-name pharmaceutical products as well as

     14    generics?

     15                     MR. DAVISON:      Objection to form.

     16             A.      I -- my time was only in generics, so I'm

     17    not really sure.

     18    BY MS. GAFFNEY:

     19             Q.      And when we talk about chargeback data,

     20    what does that data consist of?

     21                     MR. DAVISON:      Objection.      Form.

     22             A.      Chargeback data should consist of the

     23    distributor that -- so when you speak of that, are you

     24    talking about like Mallinckrodt's chargeback data, what

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      1    that would contain?        Because that's really only --

      2    BY MS. GAFFNEY:

      3             Q.      Right.    In your experience working at

      4    Mallinckrodt.

      5             A.      Okay.    So I can't say exhaustively.           I

      6    don't really remember the -- every detail, but I know

      7    it would contain at least the distributor or the

      8    manufacturer that -- us --and then the distributor that

      9    is submitting it, and then the DEA registrant that the

     10    product was shipped to from the distributor and their

     11    DEA number that's in the product.            Obviously, quantity,

     12    price.    So that's kind of all I remember.

     13             Q.      And when you say the DEA registrant that

     14    the product was shipped to, would that also be referred

     15    to as the downstream customer or the indirect customer?

     16             A.      Yes.

     17             Q.      Either of those two?

     18             A.      I've never used the term downstream

     19    customer, but yeah, we commonly refer to them as

     20    indirect customers, yeah.

     21             Q.      What's your understanding of how

     22    Mallinckrodt uses chargeback data?

     23                     MR. DAVISON:      Objection to form.

     24             A.      I mean, the chargeback data was used to

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      1    reimburse the distributor, so that's really -- that was

      2    the purpose of a chargeback.           I don't -- the data can

      3    be used for any number of things to look at your

      4    indirect sales.

      5    BY MS. GAFFNEY:

      6             Q.      So with respect to pharmaceutical

      7    products, do you know what diversion refers to?

      8                     MR. DAVISON:      Objection to form.

      9             A.      I have an educated guess.

     10    BY MS. GAFFNEY:

     11             Q.      What is that guess?

     12                     MR. DAVISON:      Objection.

     13             A.      That diversion would be Mallinckrodt

     14    product going somewhere other than -- I mean, than it

     15    should, I guess, or than -- yeah, I can't even really

     16    say that I can define it.

     17    BY MS. GAFFNEY:

     18             Q.      That's fine.      How about the term

     19    suspicious order?        Are you familiar with that term?

     20             A.      Yes.

     21             Q.      What is a suspicious order?

     22                     MR. DAVISON:      Objection to form.

     23             A.      I can't remember what was determined to be

     24    a suspicious order.        I know that the compliance team

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      1    had owned a system for reporting for suspicious orders,

      2    but I was only -- I only looked at those for a brief

      3    time, so I can't really speak to like what was

      4    considered a suspicious order, if that makes sense.

      5    BY MS. GAFFNEY:

      6             Q.      That's fair.

      7             A.      Okay.

      8             Q.      How about the term peculiar order?             Are

      9    you familiar with that term?

     10             A.      My understanding is that that's the same

     11    thing as a suspicious order.

     12             Q.      And is it your understanding that

     13    chargeback data can be used in connection with

     14    suspicious order monitoring?

     15                     MR. DAVISON:      Objection to form.

     16             A.      That it can be, or that it was, or -- I'm

     17    not sure I understand the question.

     18    BY MS. GAFFNEY:

     19             Q.      Start with that it can be?

     20             A.      I wasn't -- I don't remember anything

     21    about the indirect sales being considered on the

     22    suspicious orders at all.          I recall those two things

     23    being separate.

     24             Q.      So in your recollection, did Mallinckrodt

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      1    ever use chargeback data in connection with suspicious

      2    order monitoring?

      3                     MR. DAVISON:      Objection.

      4             A.      Not that I remember.

      5    BY MS. GAFFNEY:

      6             Q.      Another general question.          Are you

      7    familiar with the term pill mill?

      8             A.      I've heard it.

      9             Q.      What's your understanding of what that

     10    means?

     11             A.      My educated guess would be that it's a

     12    pharmacy that is distributing a lot -- prescribing a

     13    lot of opioids from that specific location or that

     14    specific pharmacy.

     15             Q.      And in your opinion, is it important for

     16    Mallinckrodt to try to prevent its product from going

     17    to pill mills?

     18                     MR. DAVISON:      Objection to form.

     19             A.      I think that's a reasonable

     20    responsibility, yeah.

     21    BY MS. GAFFNEY:

     22             Q.      Do you have any understanding of how

     23    Mallinckrodt would try to do that if it would try to do

     24    that?

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      1                     MR. DAVISON:      Objection to form.

      2             A.      I really have no recollection of the

      3    details of how or how they would go about it now.

      4    Yeah.

      5    BY MS. GAFFNEY:

      6             Q.      I'm going to hand you what's been marked

      7    as Exhibit 5.

      8                     [Exhibit Mallinckrodt-Rowley-Kilper-005

      9                     marked for identification.]

     10                     MS. GAFFNEY:      Oh, I'm sorry.       Did I

     11    miscount, I think?

     12                     MR. DAVISON:      No.    This is 5.     Correct.

     13                     MS. GAFFNEY:      That's 5?     Okay.    Okay.     For

     14    the record, this is Bates-numbered ending in 8001446,

     15    and then there's an attachment ending in 800 -- or

     16    1451.

     17    BY MS. GAFFNEY:

     18             Q.      So this is an e-mail forward from Sue

     19    Werder dated November 6th, 2006, with the subject

     20    October monthly report.         And I just have a few

     21    questions about the attachment, but first, what was Sue

     22    Werder's position at Mallinckrodt at the time of this

     23    e-mail, if you remember?

     24             A.      I mean, she was -- well, I'm sorry.             What

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      1    was the date of that e-mail?

      2             Q.      2006.

      3             A.      So she was my boss at the time.            I'm not

      4    sure what her title was, actually, but she was a

      5    director.

      6             Q.      And if you look at this e-mail, it looks

      7    like she has forwarded an e-mail that she first sent to

      8    Vince Kaiman at Mallinckrodt.           Do you remember what his

      9    role was at Mallinckrodt at that time?

     10             A.      Vince was the -- oh, you're testing my

     11    memory today.      I think he was the VP of the business, I

     12    think.

     13                     MR. DAVISON:      And sorry.      Just to be clear

     14    on the PowerPoint behind it, I see it jumps a Bates

     15    number by five.       Is this one of -- are you representing

     16    that this is one of the -- I see there's more than one

     17    attachment.

     18                     MS. GAFFNEY:      Uh-huh.

     19                     MR. DAVISON:      So are you representing that

     20    this is one of the attachments to the e-mail?

     21                     MS. GAFFNEY:      Yes, it's the second

     22    attachment.

     23                     MR. DAVISON:      Okay.

     24                     MS. GAFFNEY:      Gross margin initiatives --

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      1    PowerPoint.

      2                     MR. DAVISON:      Okay.    I just wanted to make

      3    sure because I saw it jumps.

      4                     MS. GAFFNEY:      Yeah.

      5                     MR. DAVISON:      Thanks.

      6    BY MS. GAFFNEY:

      7             Q.      One more question on this e-mail.            She

      8    forwards it to a group that includes you.               If you can

      9    take a minute to look over the other names in that

     10    group.

     11                     Can you tell me if those people were from

     12    primarily one department at Mallinckrodt, or from --

     13    were they from different departments?

     14             A.      This is the first one, Number 8.

     15             Q.      Oh, I'm sorry.       Back at the cover e-mail.

     16             A.      Oh, okay.     Lots of different departments.

     17             Q.      Okay.    So now going on the PowerPoint, GM

     18    Initiative Number 8.         This PowerPoint that -- the title

     19    of the file is gross margin initiatives.               Can you tell

     20    me what gross margin initiatives refers to?

     21                     MR. DAVISON:      Objection to form.

     22             A.      I'm assuming -- I really can't speak to

     23    what she meant by that.         Just -- yeah, I really have no

     24    idea.

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      1    BY MS. GAFFNEY:

      2             Q.      Okay.    And then this -- on the Number 8

      3    page, the initiative is reduce financial risks

      4    associated with gray market activity.              What does gray

      5    market activity refer to?

      6                     MR. DAVISON:      Objection to form.

      7             A.      My recollection is that that's the

      8    diversion that you're talking about, that the product

      9    was showing up in places that we -- that it wasn't

     10    supposed to.

     11    BY MS. GAFFNEY:

     12             Q.      And then next to that under description,

     13    it says refine business process and controls relating

     14    to chargebacks.       How does that description relate to

     15    the initiative of reducing financial risks associated

     16    with gray market activity?

     17                     MR. DAVISON:      Objection to form.

     18             A.      Honestly, I have no idea what this slide

     19    was referring to.        It's just been so long.         I am not --

     20    I don't remember any specific business process or

     21    controls that I was a part of that was associated with

     22    gray market activity, so I'm not really sure what the

     23    details of this slide are.

     24    BY MS. GAFFNEY:

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      1             Q.      Okay.    That's fair.      I know it has been a

      2    long time.     And according to this slide, you were the

      3    business lead for this subcommittee.             Is that correct?

      4                     MR. DAVISON:      Objection to form.

      5             A.      That's what it appears.         It appears that

      6    way.

      7    BY MS. GAFFNEY:

      8             Q.      If you read through the objective and the

      9    tactical plan items listed on this slide, does that

     10    refresh your recollection of what this project

     11    involved?

     12             A.      I have some recollection of the

     13    overreporting analysis vaguely, that we looked at the

     14    outbound sales versus the inbound sales in an effort to

     15    try to determine if we thought the reporting was

     16    accurate from a big picture percentage-wise, if that

     17    makes sense.

     18                     But beyond that, I really can't -- they

     19    were all efforts to attempt to do the best job we could

     20    to monitor the indirect activity to see if -- to make

     21    sure that our product was getting where it needed to go

     22    and not diverted, so --

     23             Q.      On the third box under tactical plan, it

     24    says completion of customer segmentation project to

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      1    ensure 100 percent validation of legitimate end

      2    customers for chargeback processing.

      3                     Were there customers in Mallinckrodt's

      4    supply chain that were not legitimate end customers, to

      5    your knowledge?

      6                     MR. DAVISON:      Objection to form.

      7             A.      I'm sorry.     Can you repeat the question?

      8    BY MS. GAFFNEY:

      9             Q.      Sure.    Were there customers in

     10    Mallinckrodt's supply chain that were not legitimate

     11    end customers to your knowledge?

     12                     MR. DAVISON:      Objection to form.

     13             A.      I think that the term legitimate -- that

     14    had to do with a segmentation project that ensured that

     15    our system would automatically kick out any chargeback

     16    that was, let's say, a distributor selling to a

     17    distributor.      If they had that segmentation,

     18    distributor would automatically kick out.

     19                     So it wasn't -- I don't know of any

     20    illegitimate end customers.           This was just really an

     21    effort to try to have the system do some of the grunt

     22    work for making sure that these chargebacks were denied

     23    if they were sold to a segmentation that shouldn't be

     24    receiving a chargeback.

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      1    BY MS. GAFFNEY:

      2             Q.      That makes sense.        Thank you.     You

      3    mentioned the segmentation of

      4    distributor-to-distributor sales?

      5             A.      Right.

      6             Q.      So that type of transaction would not

      7    receive a chargeback?

      8             A.      Right.

      9             Q.      And why is that?

     10             A.      I mean, it's just because then you have

     11    no -- I mean, my understanding is that would have been

     12    because then you can't account for where the product is

     13    going.    I don't know.

     14                     I mean, the wholesaler that bought it from

     15    us should want their reimbursement, and that's what the

     16    chargeback is to get them to, and so for them to take

     17    the product and sell it to another distributor, we

     18    would lose sight of that, and so that was something

     19    that we ensured that that business process didn't

     20    happen, if that makes sense.

     21             Q.      Uh-huh.     Okay.    And you said the system

     22    would automatically kick out those types of

     23    transactions; is that correct?

     24             A.      Correct.     Yeah.

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      1             Q.      Were there other segmentations that the

      2    chargeback system would also exclude?

      3             A.      Yes.

      4                     MR. DAVISON:      Objection to form.

      5             A.      I have no idea which ones.

      6    BY MS. GAFFNEY:

      7             Q.      This is what's been marked as Exhibit 6,

      8    and Bates number 7127583.

      9                     [Exhibit Mallinckrodt-Rowley-Kilper-006

     10                     marked for identification.]

     11             Q.      Exhibit 6 is from a PowerPoint

     12    presentation.      The title of this presentation is sales

     13    and marketing operations, new hire orientation.                 It was

     14    quite a long PowerPoint deck, so I didn't print the

     15    whole thing.      Just one section of it on chargebacks and

     16    tracings.

     17                     Are you familiar with the term tracing?

     18                     MR. DAVISON:      Objection.

     19             A.      Vaguely.

     20    BY MS. GAFFNEY:

     21             Q.      Can you tell me what you recall what that

     22    means in the context of your work at Mallinckrodt?

     23                     MR. DAVISON:      Objection.

     24             A.      I could not be accurate here, but my

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      1    recollection is that maybe a tracing was a transaction

      2    indicating where the product was sold even when there

      3    wasn't a chargeback to be paid, but that could be

      4    wrong.    That's my recollection of it.

      5    BY MS. GAFFNEY:

      6             Q.      Okay.    And this looks like an organization

      7    chart for the chargeback department, and you're not in

      8    here; correct?

      9             A.      Right.

     10             Q.      So as you were explaining before, the

     11    chargeback department was separate from your contract

     12    administration department; correct?

     13             A.      Correct.

     14             Q.      Were both of those departments within the

     15    sales and marketing operations diversion?

     16                     MR. DAVISON:      Objection.

     17             A.      They for a time were both under sales

     18    marketing ops, and then -- during my 11 years there

     19    they changed back and forth quite a bit.               The

     20    chargebacks teams was always under the shared service

     21    organization -- or sales marketing ops, I guess --

     22    operations -- but the contracts team went back and

     23    forth.

     24    BY MS. GAFFNEY:

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      1             Q.      So just going through these slides,

      2    there's one called chargebacks and tracings interaction

      3    chart.    So under distributors, there's three --

      4                     MR. DAVISON:      Give her a second to review

      5    the chart.

      6                     MS. GAFFNEY:      Oh, sorry.

      7                     MR. DAVISON:      It's a big chart, so --

      8                     MS. GAFFNEY:      Yeah.    Please take your

      9    time.

     10             A.      Okay.

     11    BY MS. GAFFNEY:

     12             Q.      Okay.    So under distributors in the third

     13    bullet point, it says communicate discrepancies between

     14    what the distributor reported and what is in Partner.

     15                     Do you remember what Partner refers to

     16    here?

     17             A.      The pricing system.

     18             Q.      And does that mean that it's a database?

     19    What does it mean -- the pricing system?

     20             A.      It was just our software platform that we

     21    entered pricing into, so it was what the chargeback was

     22    processed in -- the system that it was processed in.

     23             Q.      And then how about under information

     24    services it says EDI 844, 849, and 867.              Can you

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      1    explain what that refers to?

      2             A.      I know that they're the transactions from

      3    the wholesaler, and I know one of them's inventory but

      4    I can't remember -- I cannot remember the specifics on

      5    each of these transactions.           No, I'm sorry.

      6             Q.      No problem.      And it says partner support

      7    there as well.       Do you know what that would refer to?

      8             A.      I think that this slide's indicating that

      9    our IT group was -- they were the ones that handled

     10    those EDI transactions coming into our system and they

     11    provided support for when we'd have -- if we

     12    encountered an issue with our pricing system.

     13             Q.      Got it.     And CDIG.     I think I saw in

     14    another document that that's the customer data

     15    integrity group.       Correct?

     16             A.      That's correct.

     17             Q.      It says set up new indirect customers.

     18    Would Mallinckrodt set up an account for its indirect

     19    customers?

     20                     MR. DAVISON:      Objection.

     21             A.      My understanding is that for the

     22    chargeback to pay, we would have needed to have that

     23    DEA number to ensure that it's a legitimate DEA

     24    registrant so that we could pay that transaction.                 So

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      1    that's -- that would be my understanding of that.

      2    BY MS. GAFFNEY:

      3             Q.      Okay.    And CDIG would be the group that

      4    would enter that information into the system?

      5             A.      Correct.

      6             Q.      And do you know which system the indirect

      7    customer information is entered into?              Would that have

      8    been Partner as well?

      9                     MR. DAVISON:      Objection to form.

     10             A.      I'm not sure.      I never had responsibility

     11    for that, so I'm not sure where she set -- where CDIG

     12    set those up at.

     13

     14    BY MS. GAFFNEY:

     15             Q.      I'm sorry.     I've got one more question

     16    about the slideshow.

     17             A.      Oh.

     18             Q.      There's a slide -- I know they're not

     19    numbered, but it says chargebacks and tracing services.

     20    Got it?

     21             A.      Okay.    Got it.

     22             Q.      So under distributor reporting

     23    administrators process chargebacks, it says ensure the

     24    data is accurate by validating with help of Partner,

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      1    and it lists unit of measure, item codes, pricing,

      2    customer names, addresses, and DEA numbers.

      3                     Does this refer to what we were talking

      4    about earlier as chargeback data?

      5                     MR. DAVISON:      Objection to form.

      6             A.      That would be my understanding.

      7                     THE VIDEOGRAPHER:        Ms. Gaffney, I've been

      8    getting some rustling from your hair.

      9                     [Discussion off the record.]

     10    BY MS. GAFFNEY:

     11             Q.      So the chargeback data is contained in

     12    Partner?

     13                     MR. DAVISON:      Objection to form.

     14             A.      As far as the chargeback data being

     15    contained, my understanding was that the chargeback was

     16    processed in Partner, so I'm not an IT expert at all,

     17    so I don't know exactly where it was like housed or

     18    stored or any of that, but I think Partner system is

     19    where the pricing was, so I know that Partner was at

     20    least utilized in processing of the chargebacks, if

     21    that makes sense.

     22    BY MS. GAFFNEY:

     23             Q.      That does make sense.

     24             A.      Okay.

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      1             Q.      And I'm not an IT person either --

      2             A.      Okay.

      3             Q.       -- so I'm going to be asking lots of

      4    questions trying to figure out the database without

      5    really knowing the right terminology.              So let me ask it

      6    this way.     I've seen in the documents -- and let me

      7    know if this is accurate -- that you would at times run

      8    chargeback reports; is that correct?

      9                     MR. DAVISON:      Objection to form.

     10             A.      Yeah.    Yes.

     11    BY MS. GAFFNEY:

     12             Q.      When you would run a chargeback report,

     13    would you run it through Partner?

     14             A.      No.   Yeah.     There was a tool called Cognos

     15    that, again, I don't really understand it, but it was

     16    what our system or what our company used to sort of --

     17    I know that it like rolled up the data so you could

     18    look at it at a level and you could -- it was like a

     19    program or a report-writer type of functionality.

     20             Q.      So if I understand correctly, Cognos would

     21    be able to import the pricing data from Partner?

     22                     MR. DAVISON:      Objection to form.

     23    BY MS. GAFFNEY:

     24             Q.      Is that correct?

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      1             A.      Somehow -- I don't know if it was

      2    imported, but yeah, somehow it did get our indirect

      3    sales so you could run reports out of Cognos to get at

      4    that information.        So yeah, anytime I were to run like

      5    a chargeback report or anything about chargebacks,

      6    that's the system that I had to use.

      7             Q.      All right.     All done with that.         Thank

      8    you.

      9             A.      Okay.

     10             Q.      Okay.    What's been marked as Exhibit 7 has

     11    a PowerPoint Bates number ending in 1009775.

     12                     [Exhibit Mallinckrodt-Rowley-Kilper-007

     13                     marked for identification.]

     14             Q.      I'll give you a moment to flip through

     15    this slideshow.       There's some overlap with what we were

     16    just looking at.

     17             A.      Okay.

     18             Q.      And then a few slides that are different

     19    that I wanted to ask about.

     20             A.      Are there specific slides you want me to

     21    read?    You want me to read this entire thing?

     22             Q.      Yeah.    No, you don't need to read the

     23    entire thing.

     24             A.      Okay.

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      1             Q.      There are some slides that appear to be

      2    screenshots from a database.           So the first one, I

      3    think, is setting up customer cross-ref in Partner.

      4    And then from there a few slides later is one that says

      5    chargeback transaction in Partner.

      6             A.      Okay.

      7             Q.      Okay.    So just to try to understand how

      8    the databases worked -- this is -- is this what the --

      9    essentially what the screen looked like when you worked

     10    in Partner?

     11                     MR. DAVISON:      Objection to form.

     12             A.      It looked familiar with, but yeah, I have

     13    no recollection of the details of it, but --

     14    BY MS. GAFFNEY:

     15             Q.      And you used Partner to enter the pricing

     16    data.    Let me back up.       Strike that.      Can you just walk

     17    me through how you would use the Partner system?

     18                     MR. DAVISON:      Objection.

     19             A.      So in my roles I would enter the pricing

     20    and so I would never have seen this screen ever --

     21    yeah -- except for that time I must have sat with the

     22    chargeback analyst.        This would have been their

     23    screen -- something that they would have seen, but not

     24    me.

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      1                     I'm sure some of the prices on here came

      2    from the screens that I entered.            I can't even tell you

      3    exactly which prices are the ones that I entered

      4    because there's so many -- all the prices are on here

      5    so they've got the wholesaler acquisition cost.

      6                     There's just -- I'm not even sure what --

      7    because I've never used this screen so I'm not even

      8    sure which are the pricers that are the contract prices

      9    that I entered.

     10    BY MS. GAFFNEY:

     11             Q.      Okay.    So Partner was the pricing system;

     12    is that correct?

     13             A.      Correct.

     14             Q.      Was there an additional customer database

     15    that Mallinckrodt used?

     16                     MR. DAVISON:      Objection to form.

     17             A.      I don't remember in the customers were

     18    housed in Partner or -- no, no.            I do remember -- I'm

     19    sorry.    I do remember that.         The customers -- I think

     20    the customer information was housed in what they call

     21    J.D. Edwards system, and there was interaction

     22    obviously between the two, but I couldn't tell you the

     23    details of that either.

     24    BY MS. GAFFNEY:

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      1             Q.      And which department would primarily work

      2    with the J.D. Edwards system?

      3                     MR. DAVISON:      Objection.

      4             A.      My recollection of the J.D. Edwards was

      5    that it was -- all of the outbound sales to the

      6    wholesalers were JDE transactions.             That's what I

      7    remember.      Partner -- I don't know that -- I don't

      8    remember if direct sales got put in Partner at all.                  I

      9    don't think they did.

     10                     I think it was -- Partner was sort of the

     11    pricing system for the indirect piece of the business,

     12    so I think J.D. Edwards was their -- the director --

     13    outbound sales to the wholesalers.

     14    BY MS. GAFFNEY:

     15             Q.      And then Cognos was not so much of a

     16    database but rather a report-generating tool; is that

     17    correct?

     18             A.      That's what -- that was my understanding

     19    of it.    That's the way that I used it.

     20             Q.      Okay.    Okay.    So just in terms of the way

     21    that you used these systems -- I'll give you an

     22    example.      If you were sent an article saying that a

     23    pharmacy had been raided by the DEA and asked to find

     24    out how much Mallinckrodt product went to that

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      1    pharmacy, how would you go about doing that?

      2                     MR. DAVISON:      Objection to form.

      3             A.      I couldn't -- I really don't remember

      4    exactly how I would or if I would have been able to do

      5    that.    We only had the transactions that we had gotten

      6    in chargebacks, so you could look at indirect sales to

      7    a pharmacy but it may not have been -- it's not going

      8    to be the entirety of the product that may be there

      9    because there was also noncontract sales, so we only

     10    had what the distributor submitted to us in the

     11    chargeback.

     12    BY MS. GAFFNEY:

     13             Q.      Okay.    And understanding that that is all

     14    the data that you had access to, if you wanted to

     15    generate a report of that data, how would you do that?

     16                     MR. DAVISON:      Objection to form.

     17             A.      I don't remember the details.           I mean, I

     18    know that I could run a report and look at a specific

     19    end pharmacy and look at chargebacks that had come in

     20    for that pharmacy.        I know that I could do that, but I

     21    can't really recall.         I think it was from Cognos.          My

     22    only recollection was doing reports from Cognos.                 I

     23    don't know if that answers your question or --

     24    BY MS. GAFFNEY:

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      1             Q.      It does.

      2             A.      Okay.

      3             Q.      Thank you.     Are you aware of how

      4    Mallinckrodt kept track of suspicious or peculiar

      5    orders?

      6                     MR. DAVISON:      Objection to form.

      7             A.      I'm aware that there was a process in

      8    place.    I couldn't tell you the details of that

      9    process.

     10    BY MS. GAFFNEY:

     11             Q.      Just another example.         If you were asked

     12    to create a report showing all of the pharmacies for

     13    which one distributor had requested chargeback

     14    payments, how would you go about doing that?

     15                     MR. DAVISON:      Objection to form.

     16             A.      One pharmacy?

     17    BY MS. GAFFNEY:

     18             Q.      One distributor -- all of its pharmacy

     19    customers for which it had requested chargeback

     20    payments?

     21                     MR. DAVISON:      Same -- sorry.       Same

     22    objection.

     23             A.      Yeah, I mean, the same -- I mean, I would

     24    have used Cognos to look at, yeah, the end user.                 It

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      1    would -- my recollection is that the data getting down

      2    to the distributor's customer was massive, but -- so we

      3    didn't really look at it that way because there was

      4    hundreds of thousands of transactions and -- but we

      5    could -- I would use Cognos to look at any of the data

      6    that I was asked to look at.

      7    BY MS. GAFFNEY:

      8             Q.      When you say the data getting down to the

      9    distributor's customer was massive, what do you mean by

     10    massive?

     11             A.      Well, just like a chargeback could be so

     12    small, and so if you -- the chargeback might be a

     13    couple dollars, and so you've got a lot of data, right,

     14    to -- when you're down to that level in the sort of --

     15    just the -- that's just all I meant.             This was just a

     16    lot of transactions that go into one distributor.

     17             Q.      Understanding that there's a lot of data

     18    there, would you still be able to use those programs to

     19    generate a report showing all of the indirect customer

     20    transactions for which a certain distributor had

     21    requested chargeback payments?

     22                     MR. DAVISON:      Objection to form.

     23             A.      The -- yeah, the data was there and you

     24    could run reports to get it.

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      1    BY MS. GAFFNEY:

      2             Q.      Okay.    Here's what's been marked as

      3    Exhibit 8.

      4                     [Exhibit Mallinckrodt-Rowley-Kilper-008

      5                     marked for identification.]

      6             Q.      For the record, the Bates number ends in

      7    457681.     It is an e-mail dated February 6th, 2008, to

      8    you from Victor Borelli with an attachment.

      9                     Do you remember working with Victor

     10    Borelli?

     11             A.      I do.

     12             Q.      And it appears that he is forwarding you

     13    an e-mail from Chrissy Madden of Master's

     14    Pharmaceuticals that attaches a letter from Master's

     15    and a due diligence report regarding Sunrise Wholesale.

     16    I'll give you a minute to -- oh, wait.              I didn't give

     17    you an attachment.        Hold on.

     18                     [Discussion off the record.]

     19                     MS. GAFFNEY:      Okay.    Can we go off the

     20    record for a second?

     21                     THE VIDEOGRAPHER:        We are going off the

     22    record at 9:58 AM.

     23                     [A brief recess was taken.]

     24                     THE VIDEOGRAPHER:        We are back at 10:12

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      1    AM.

      2    BY MS. GAFFNEY:

      3             Q.      Okay, Ms. Kilper.        Welcome back from the

      4    break.    We've fixed the exhibit issue.            So now you have

      5    what's been marked Exhibit 9, which is the same e-mail

      6    we were just talking about but this time with the

      7    attachment.      So I'll give you a moment just to look at

      8    the attachment.

      9                     [Exhibit Mallinckrodt-Rowley-Kilper-009

     10                     marked for identification.]

     11             Q.      Okay.    And you said before the break that

     12    you did recall working with Mr. Borelli.               He was a

     13    national account manager; correct?

     14             A.      Correct.

     15             Q.      How would you interact with him in your

     16    role in the contract administration department?

     17             A.      So we supported the national account

     18    managers when they would need contracts drafted for

     19    their customers, so we just -- they would submit what

     20    they needed a like proposal for, and we would draft it

     21    up and send it out, so that's how I supported him.

     22             Q.      Looking over this e-mail and the

     23    attachment, do you remember why Victor Borelli would

     24    have been sending you the due diligence report that

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      1    Master's did with respect to Sunrise?

      2                     MR. DAVISON:      Objection to form.

      3             A.      I really -- I don't recall ever seeing

      4    this, and I trust that it did come to me because I

      5    could see that, but I don't remember seeing this at

      6    all, so I have no idea why he sent it to me, actually.

      7    BY MS. GAFFNEY:

      8             Q.      So this is in February 2008, and he says

      9    here's the due diligence report that Master's did a few

     10    months ago.      Let's talk when you get a chance.            I just

     11    left you a voicemail on this.           You don't remember --

     12    well, you just said you don't remember receiving this.

     13    You don't remember discussing this with Mr. Borelli

     14    either?

     15             A.      No.

     16             Q.      Would you -- would the national account

     17    managers typically send you due diligence reports on

     18    indirect customers in your interactions with them?

     19             A.      No.

     20             Q.      Can you think of any reason that this

     21    related to your work at this time in 2008?

     22                     MR. DAVISON:      Objection to form.

     23             A.      I really can't think of any reason why he

     24    would have sent this to me, no.

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      1    BY MS. GAFFNEY:

      2             Q.      Ms. Kilper, were you ever involved in

      3    suspicious order monitoring efforts at Mallinckrodt?

      4             A.      Yes, for like a three-month period, I

      5    believe.

      6             Q.      Okay.    So a three-month period.

      7    Approximately when did that start?

      8             A.      I'm not sure of the exact date.            Actually,

      9    it was a few months before I resigned.

     10             Q.      So it would have been end of 2010,

     11    beginning of 2011?

     12             A.      I think so.

     13             Q.      And what was your role at Mallinckrodt at

     14    that time right before you resigned from the company?

     15             A.      I was in the role of trade relations,

     16    but -- is that what you're asking?

     17             Q.      Uh-huh.

     18             A.      What role was I in?

     19             Q.      Uh-huh.

     20             A.      Yeah, I was the trade relations manager at

     21    the time.

     22             Q.      And how were you involved in suspicious

     23    order monitoring for those few months in your role as

     24    trade relations manager?

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      1             A.      I remember that Jim Rausch transitioned

      2    the report to me that was suspicious order monitoring,

      3    and I remember being trained to look over that report

      4    and -- but beyond that, I can't really remember the

      5    details of what I did.         It was such a short time.

      6             Q.      Do you know who took your place after you

      7    left Mallinckrodt in 2011?

      8                     MR. DAVISON:      Objection to form.

      9             A.      I know they didn't replace my role in the

     10    same capacity, so they restructured, and so no, I don't

     11    know.

     12                     THE VIDEOGRAPHER:        Ms. Gaffney, I've got

     13    some noise --

     14                     MS. GAFFNEY:      Sorry.

     15                     THE VIDEOGRAPHER:        That's okay.

     16    BY MS. GAFFNEY:

     17             Q.      You said you remember that Jim Rausch

     18    transitioned the peculiar order or suspicious order

     19    report to you just a few months before you left.                 Do

     20    you remember why Mallinckrodt -- or Jim Rausch

     21    transitioned that report to you?

     22                     MR. DAVISON:      Objection to form.

     23             A.      I don't know why they chose me, no.

     24    BY MS. GAFFNEY:

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      1             Q.      I want to go back to something you were

      2    saying earlier.       You said that a sales tracing, to the

      3    best of your recollection, is a transaction indicating

      4    where the product was sold even when there wasn't a

      5    chargeback to be paid; is that correct?

      6                     MR. DAVISON:      Objection to form.

      7             A.      Since it was a guess, I probably misspoke.

      8    I really can't be sure what it was.             So --

      9    BY MS. GAFFNEY:

     10             Q.      Okay.    But to the best of your

     11    recollection here today, a tracing would provide a way

     12    to identify an indirect customer even in the absence of

     13    a chargeback payment request?

     14                     MR. DAVISON:      Objection to form.

     15             A.      Since I'm not 100 percent sure that that's

     16    what a tracing is, I feel like I should just say I'm

     17    not sure.

     18    BY MS. GAFFNEY:

     19             Q.      That's fine.

     20             A.      Yeah.

     21             Q.      Do you know who at Mallinckrodt would have

     22    been responsible for sales tracings?

     23                     MR. DAVISON:      Objection to form.

     24             A.      I have no idea.

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      1    BY MS. GAFFNEY:

      2             Q.      Do you know which department or group that

      3    would have fallen under?

      4                     MR. DAVISON:      Objection.

      5             A.      No.

      6    BY MS. GAFFNEY:

      7             Q.      Were you involved in consideration of a

      8    pilot project by an entity called IntegriChain?

      9             A.      I don't remember anything regarding that,

     10    no.

     11             Q.      Let me give you a couple documents that

     12    may help refresh your recollection on that.               So this is

     13    what's been marked Exhibit 10.

     14                     [Exhibit Mallinckrodt-Rowley-Kilper-010

     15                     marked for identification.]

     16             Q.      And for the record, it's Bates number

     17    ending in 387970, and this is an e-mail from Kimberly

     18    France to Karen Harper dated April 9th, 2008, and I've

     19    just included one of the attachments, which is

     20    IntegriChain project history.           Your name starts to show

     21    up in the column of meeting invitees in December of

     22    2007.

     23                     Does this document refresh your

     24    recollection of IntegriChain at all?

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      1             A.      Not really.      I remember sitting in a

      2    meeting.      That's about -- that's the extent of what I

      3    remember about IntegriChain.

      4    BY MS. GAFFNEY:

      5             Q.      Do you remember who Kimberly France was in

      6    terms of what her role was at Mallinckrodt?

      7             A.      I don't remember her role, no.

      8             Q.      How about Karen Harper?

      9             A.      Yeah, Karen Harper.        Yeah.

     10             Q.      What was her role at Mallinckrodt?

     11             A.      I know she -- she's who I would go to on

     12    the compliance side of things.

     13             Q.      And when you say you would go -- who you

     14    would go to on the compliance side of things, what sort

     15    of interactions would you have with the compliance side

     16    of things?

     17             A.      Limited interaction, but when Jim Rausch

     18    transitioned that report I remember interacting with

     19    Karen, but I can't really remember any detail about it.

     20    But that was my only interaction with Karen.

     21             Q.      So to your recollection, your primary

     22    interactions with the compliance department were

     23    surrounding the peculiar order report after Jim Rausch

     24    transitioned it to you?

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      1                     MR. DAVISON:      Objection to form.

      2             A.      That's what I remember, yeah.

      3    BY MS. GAFFNEY:

      4             Q.      And what was Jim Rausch's role at

      5    Mallinckrodt?

      6             A.      I know he was in customer service.             I

      7    don't know if he was manager or director or -- but

      8    he -- I just know he was in customer service.

      9             Q.      To your knowledge, after you left

     10    Mallinckrodt, did Mallinckrodt continue to generate

     11    those peculiar order reports?

     12             A.      I have no --

     13                     MR. DAVISON:      Objection to form.

     14             A.      Got no idea.

     15    BY MS. GAFFNEY:

     16             Q.      You mentioned that they restructured after

     17    you left.     Do you know how they restructured?

     18                     MR. DAVISON:      Object --

     19             A.      No, I don't know.

     20    BY MS. GAFFNEY:

     21             Q.      This has been marked as Exhibit 11.

     22                     [Exhibit Mallinckrodt-Rowley-Kilper-011

     23                     marked for identification.]

     24             Q.      It's also about IntegriChain.           It's an

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      1    e-mail with an attached PowerPoint, so I'll give you a

      2    moment to flip through it.          And for the record, the

      3    Bates number on this Exhibit 11 ends in 274486.

      4             A.      You want me to look through it all?

      5             Q.      No, I don't think you need to look through

      6    it all.     I can ask you just a few targeted questions

      7    about it.     So the slideshow appears to be a

      8    presentation prepared by IntegriChain.              Is that fair to

      9    say?

     10                     MR. DAVISON:      Objection to form.

     11             A.      That's what it looks like.

     12    BY MS. GAFFNEY:

     13             Q.      That's what it looks like?          It's very hard

     14    to read the title of this slideshow from how it

     15    printed, but it is titled IntegriChain-Covidien proof

     16    of concept channel integrity reporting, Phase 1.

     17                     And I'm just going back to the cover to

     18    place this in time.        The subject of this e-mail is July

     19    15th IntegriChain meeting, and it's from July 15th,

     20    2008.    You said you remembered sitting in a meeting.

     21                     Do you think it might have been this July

     22    15th meeting?

     23                     MR. DAVISON:      Objection.

     24             A.      I have no recollection.

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      1    BY MS. GAFFNEY:

      2             Q.      And going back to the previous exhibit,

      3    the IntegriChain project history, it looked like there

      4    were multiple meetings starting in -- excuse me --

      5    starting in 2007 and going into 2008.

      6                     Does that seem accurate according to your

      7    recollection?

      8                     MR. DAVISON:      Objection to form.

      9             A.      That's what it looks like in the document.

     10    BY MS. GAFFNEY:

     11             Q.      Okay.    Okay, so going through the slides

     12    in the -- from the IntegriChain July 15th meeting, in

     13    the background it says Covidien has engaged

     14    IntegriChain in a proof-of-concept program that

     15    leverages Covidien's channel data to proactively

     16    monitor channel integrity.

     17                     What's your understanding of what that

     18    means?

     19                     MR. DAVISON:      Objection to form.

     20             A.      I really have no idea.         Sorry.

     21    BY MS. GAFFNEY:

     22             Q.      That's fine.      Is it your understanding

     23    that when IntegriChain is proposing to leverage

     24    Covidien's channel data, it means it's proposing to use

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      1    Mallinckrodt's own data?

      2                     MR. DAVISON:      Objection to form.

      3             A.      I'm not sure.

      4    BY MS. GAFFNEY:

      5             Q.      So just -- you can go ahead and skip past

      6    the slides that are the retail inventory analysis

      7    slides to the slide titled wholesale inventory analysis

      8    overview.     And here it reads most wholesalers have

      9    committed to exclusively source pharmaceuticals

     10    directly from the manufacturer and to maintain

     11    inventory levels within prespecified parameters.

     12                     Is that statement consistent with your

     13    experience dealing with wholesale customers?

     14                     MR. DAVISON:      Objection to form.

     15             A.      I really can't speak to whether or not

     16    it's accurate or not.         I mean, it's just not my slide

     17    deck and I don't really know what it means.

     18    BY MS. GAFFNEY:

     19             Q.      Sure.

     20             A.      Sorry.

     21             Q.      Okay.    You can go -- let's see -- past the

     22    wholesale inventory analysis to the slide titled orders

     23    from high-risk channels.          Here it reads wholesaler

     24    sales to certain channels pose a higher risk of product

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      1    diversion than others and lists two examples, sales to

      2    internet pharmacies and distributor sales to other

      3    wholesalers.

      4                     Do you agree that those categories of

      5    sales pose a higher risk of product diversion?

      6                     MR. DAVISON:      Objection to form.

      7             A.      I really don't know enough to say.             This

      8    isn't my area of expertise at all, so --

      9    BY MS. GAFFNEY:

     10             Q.      And earlier we talked about how the

     11    chargeback system will not process chargebacks for

     12    wholesaler-to-wholesaler transactions.              You mentioned

     13    that with wholesaler-to-wholesaler transactions, it's

     14    difficult for Mallinckrodt to know where that product

     15    goes eventually; is that accurate?

     16                     MR. DAVISON:      Objection to form.

     17             A.      Yeah, that's, I think, a true statement.

     18    Yeah.    I mean, I really only dealt with the data of

     19    those transactions, so to speak at a high level of

     20    whether or not it's a higher risk of product diversion,

     21    I just can't really speak to that.

     22                     Our system had a way to identify those

     23    distributors-to-distributor sales and deny them, is

     24    what I was referring to, I guess.

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      1    BY MS. GAFFNEY:

      2             Q.      Understood.      Okay.    So if you keep going

      3    through the slide deck, it looks like IntegriChain

      4    included examples of mail-order pharmacies, internet

      5    pharmacies, examples of wholesaler-to-wholesaler

      6    purchases, and then examples of wholesalers with

      7    counterfeiting/diversion ties purchasing Covidien

      8    products.

      9                     To your knowledge, did Mallinckrodt do

     10    anything with the information flagged by IntegriChain

     11    in this presentation?

     12                     MR. DAVISON:      Objection to form.

     13             A.      I don't know.

     14    BY MS. GAFFNEY:

     15             Q.      Okay.    If you can keep flipping through to

     16    the slide titled order diversion risk analysis.                 It has

     17    oxycodone customers with the largest relative growth,

     18    so it appears that IntegriChain analyzed relative

     19    growth, and then the text back here -- box here

     20    explains that most of these were new customers with

     21    minimal orders in the first three months of the

     22    analysis.

     23                     But if you flip to the next slide, there

     24    are a few examples of oxycodone customers with

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      1    established order history and high growth.               Do you see

      2    that?

      3                     MR. DAVISON:      Objection to form.

      4    BY MS. GAFFNEY:

      5             Q.      Oops.    There you go.

      6             A.      Okay.

      7             Q.      And the text box reads a smaller number of

      8    facilities flagged for high relative growth did not

      9    appear to be new customers and still demonstrated

     10    significant order growth.          So if you can take a look at

     11    the graph that's included here, there's a line for the

     12    three pharmacy examples -- for each of the three

     13    pharmacy examples.

     14                     What's your interpretation of this graph

     15    as you look at it today?

     16                     MR. DAVISON:      Objection.      Form.

     17             A.      I really can't comment on it because I

     18    don't remember this presentation.            I don't remember

     19    this data at all, so I don't feel like I can speak to

     20    it.

     21    BY MS. GAFFNEY:

     22             Q.      How about just looking at the graph?

     23    What's your understanding of the information that's

     24    represented there?

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      1                     MR. DAVISON:      Objection to form.

      2             A.      I mean, I can tell that there's sales data

      3    for this pharmacy -- for these three different

      4    pharmacies, and they're trying to convey something, but

      5    I really can't speak to it.           I just have no idea.

      6    BY MS. GAFFNEY:

      7             Q.      Would you agree that this graph shows a

      8    significant increase in oxycodone sales by Gompers

      9    Pharmacy in a one-month time period?

     10                     MR. DAVISON:      Objection to form.

     11             A.      That's what it looks like it's conveying,

     12    yeah.

     13    BY MS. GAFFNEY:

     14             Q.      Gompers Pharmacy is in West Virginia.

     15    I'll represent to you that it is in Wheeling, West

     16    Virginia, which borders Ohio.           It's right on the Ohio

     17    River in Appalachia.

     18                     Is it your understanding that there is an

     19    opioid crisis in this country?

     20                     MR. DAVISON:      Objection to form.

     21             A.      I'm aware of that, yeah.

     22    BY MS. GAFFNEY:

     23             Q.      How did you become aware of that?

     24             A.      Just the media.

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      1             Q.      Is it your understanding that the opioid

      2    crisis has particularly affected Appalachia and West

      3    Virginia?

      4                     MR. DAVISON:      Objection.

      5             A.      I didn't know that, no.

      6    BY MS. GAFFNEY:

      7             Q.      This slideshow is from 2008.           If someone

      8    had asked you in 2008 to look back at sales of

      9    Mallinckrodt oxycodone to these three pharmacies listed

     10    here as indirect customers, would you have been able to

     11    access that information?

     12                     MR. DAVISON:      Objection to form.

     13             A.      For the data that was submitted to us from

     14    the distributor, yeah.

     15    BY MS. GAFFNEY:

     16             Q.      And would the data submitted to you from

     17    the distributor have shown an increase in sales from

     18    month to month, if that's what the transaction --

     19    scratch that.

     20                     What would the data from the distributor

     21    have shown?

     22                     MR. DAVISON:      Objection to form.

     23             A.      I can't be sure what it would have shown.

     24    BY MS. GAFFNEY:

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      1             Q.      Would you have been able to see the amount

      2    of product ordered each month or purchased each month

      3    by the indirect customer?

      4                     MR. DAVISON:      Objection to form.

      5             A.      Only what the distributors submitted to us

      6    on a chargeback, yeah.

      7    BY MS. GAFFNEY:

      8             Q.      Would the sales tracing have covered sales

      9    to indirect customers that wouldn't have been submitted

     10    through the chargeback system?

     11                     MR. DAVISON:      Objection to form.

     12             A.      Again, just not being sure about the full

     13    meaning of a tracing, I can't really comment if that

     14    would be comprehensive or not.            I'm not sure.

     15    BY MS. GAFFNEY:

     16             Q.      Do you remember if anyone at Mallinckrodt

     17    following this presentation asked you to pull data on

     18    the three pharmacies listed here?

     19                     MR. DAVISON:      Objection.

     20             A.      I don't recall, no.

     21                     [Discussion off the record.]

     22    BY MS. GAFFNEY:

     23             Q.      Do you remember what happened after this

     24    July 15th meeting in terms of Mallinckrodt working with

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      1    IntegriChain?

      2                     MR. DAVISON:      Objection to form.

      3             A.      No idea.

      4    BY MS. GAFFNEY:

      5             Q.      Okay.    I'm going to hand you what's marked

      6    as Exhibit 12.

      7                     [Exhibit Mallinckrodt-Rowley-Kilper-012

      8                     marked for identification.]

      9             Q.      Bates number ends in 457251, and it's an

     10    e-mail chain from July 2008.           The most recent e-mail in

     11    this chain is you forwarding it to Victor Borelli on

     12    July 29th, 2008, but if you go back to the first e-mail

     13    in the chain, it is an e-mail from Kimberly France to

     14    the IntegriChain representatives on July 17th, so just

     15    after this meeting from the presentation we were just

     16    looking at.

     17                     And it appears that she's forwarded an

     18    article about Cardinal Health being fined by the Ohio

     19    Pharmacy Board for allegedly neglecting suspicious

     20    orders, and then read through the e-mail chain.

     21    Someone from IntegriChain replies with thanks for the

     22    meeting on Tuesday, and then some follow-up items.

     23    Kimberly France replies and adds Sue Werder to the

     24    e-mail.

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      1                     And you said earlier that you worked with

      2    Sue Werder; is that correct?

      3             A.      Correct.

      4                     MR. DAVISON:      Objection.

      5    BY MS. GAFFNEY:

      6             Q.      She was in the contract administration

      7    department with you?         Or no?

      8             A.      No, she was who I went to work for when I

      9    got promoted out of contract administration into trade

     10    compliance.

     11             Q.      So if you keep following this e-mail

     12    chain, Sue Werder on July 23rd e-mails Gordon Cummins,

     13    who's one of the IntegriChain representatives.                She

     14    asks him for more information about NuCare.               It is a

     15    pharmacy highlighted as questionable in the

     16    IntegriChain presentation.

     17                     Do you see that e-mail?

     18             A.      I do, yeah.

     19             Q.      And then following the e-mail chain,

     20    there's some back and forth, and IntegriChain sends her

     21    briefing on the company, on NuCare, which she then

     22    forwards to you.

     23                     Do you remember if you discussed the

     24    NuCare Pharmacy with Ms. Werder at this time?

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      1                     MR. DAVISON:      Objection to form.

      2             A.      I don't remember discussing it.

      3    BY MS. GAFFNEY:

      4             Q.      So that brings us up to the top of the

      5    document, and you write to Victor Borelli we are fine

      6    opening up NuCare and paying chargebacks for sales to

      7    them.    As you read, it was the CEO back in 2002 that

      8    engaged in illegal practices.           You can let Master's

      9    know they are fine.

     10                     Do you remember sending this e-mail to Mr.

     11    Borelli?

     12             A.      No.

     13             Q.      Is it accurate to say that this is an

     14    example of Mallinckrodt researching a downstream

     15    customer to approve it for chargeback requests?

     16                     MR. DAVISON:      Objection to form.

     17             A.      I -- that's what it appears.

     18    BY MS. GAFFNEY:

     19             Q.      And is it your understanding that

     20    NuCare -- is it your understanding from this e-mail

     21    that NuCare was one of Master's customers?

     22                     MR. DAVISON:      Objection to form.

     23             A.      That's what it appears.

     24    BY MS. GAFFNEY:

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      1             Q.      Would you agree that the IntegriChain

      2    presentation prompted Mallinckrodt to research NuCare

      3    Pharmacy?

      4                     MR. DAVISON:      Objection to form.

      5             A.      Since I don't remember the IntegriChain

      6    presentation, I can't really speak to whether or not

      7    they're related.       I'm not -- I mean, it appears from

      8    the chain that they're involved, so -- but other than

      9    reading this e-mail, I really don't know.

     10    BY MS. GAFFNEY:

     11             Q.      And is it your recollection that

     12    Mallinckrodt did not follow up on the information

     13    highlighted about Gompers Pharmacy in the IntegriChain

     14    presentation?

     15                     MR. DAVISON:      Objection to form.

     16             A.      I have no idea if they followed up or not.

     17    BY MS. GAFFNEY:

     18             Q.      Do you remember anyone asking you to run

     19    reports on Gompers Pharmacy?

     20                     MR. DAVISON:      Objection to form.

     21             A.      No.

     22    BY MS. GAFFNEY:

     23             Q.      In your opinion, if that data was accurate

     24    and there was a big jump in sales of oxycodone from one

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      1    month to another, would Mallinckrodt have a

      2    responsibility to look into that?

      3                     MR. DAVISON:      Objection to form.

      4             A.      I don't know.      I feel like Mallinckrodt

      5    always took a very diligent responsibility in our sales

      6    and where the product went, so I know that I felt

      7    comfortable that they were doing what they needed to

      8    do.

      9    BY MS. GAFFNEY:

     10             Q.      And if Mallinckrodt had wanted to research

     11    Gompers Pharmacy in 2008 and look into those sales of

     12    its oxycodone product to that indirect customer, would

     13    it have been able to do that from the data it had?

     14                     MR. DAVISON:      Objection to form.

     15             A.      I'm not sure if the data had Gompers

     16    Pharmacy even in it.         I never recall running anything

     17    with them, so I have no idea what the data would show.

     18    BY MS. GAFFNEY:

     19             Q.      If they were an indirect customer of

     20    Mallinckrodt purchasing Mallinckrodt product, would

     21    Mallinckrodt have data showing those purchases?

     22             A.      Yeah, if we received --

     23                     MR. DAVISON:      Objection to form.        Asked

     24    and answered.

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      1             A.      If we received chargebacks for them, then

      2    yeah, the data would be there.

      3    BY MS. GAFFNEY:

      4             Q.      A moment ago you said that you felt

      5    Mallinckrodt always took diligent responsibility in its

      6    sales and knowing where its product went.               What do you

      7    base that on?

      8             A.      Just my working there, and I just know

      9    based on my time there that we always were trying to

     10    improve the process and work to do whatever we could to

     11    ensure that we had done our responsibility in that.

     12                     So -- I mean, it wasn't something that I

     13    was particularly involved with other than those three

     14    months, but I felt comfortable that we had a compliance

     15    team that was doing their job in that.

     16             Q.      Okay.    This is Exhibit 13.

     17                     [Exhibit Mallinckrodt-Rowley-Kilper-013

     18                     marked for identification.]

     19             Q.      And for the record, the Bates number ends

     20    in 563507.     It's an e-mail from you to Victor Borelli

     21    and Kate Muhlenkamp, July 11th, 2008.              I'll give you a

     22    moment to look it over.

     23             A.      Okay.

     24             Q.      Can you explain to me what happened here,

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      1    what this e-mail chain is describing?

      2                     MR. DAVISON:      Objection to form.

      3             A.      Other than just reading it today, I really

      4    don't remember it at all.          But my responsibility was

      5    promotional.      I helped -- or -- let me think how to say

      6    it.   For some time I played a role in stocking

      7    allowances and promotional incentives, but I really

      8    can't remember exactly what that role was, but that's

      9    why I was involved here with the stocking allowance.

     10    BY MS. GAFFNEY:

     11             Q.      It appears that Victor Borelli was asking

     12    for this stocking allowance because of an unusual

     13    circumstance.      Is that accurate?

     14                     MR. DAVISON:      Objection to form.

     15             A.      That's what it looks like, yeah.

     16    BY MS. GAFFNEY:

     17             Q.      Is it your understanding that what is

     18    described here is a customer of Mallinckrodt's,

     19    Master's Pharmaceutical, wanting a chargeback that was

     20    not processed because it turned out to be a

     21    wholesaler-to-wholesaler transaction?

     22                     MR. DAVISON:      Objection to form.

     23             A.      That's what it looks like in the e-mail.

     24    BY MS. GAFFNEY:

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      1             Q.      And then Mallinckrodt was able to do a

      2    one-time stocking allowance to get them that payment

      3    even though it wasn't a chargeback; is that accurate?

      4                     MR. DAVISON:      Objection to form.

      5             A.      That's what it looks like, yeah.

      6    BY MS. GAFFNEY:

      7             Q.      In this particular transaction, according

      8    to this e-mail, the indirect customer, Medical Arts,

      9    sold all of the Mallinckrodt product to a single

     10    customer, South Florida Pain Management, and that

     11    product was all oxycodone.

     12                     Does that raise any concerns for you with

     13    respect to diversion?

     14                     MR. DAVISON:      Objection to form.

     15             A.      It did not, no.

     16    BY MS. GAFFNEY:

     17             Q.      You said earlier that your

     18    responsibilities with compliance were limited to a

     19    few-month period reviewing the peculiar order reports;

     20    is that correct?

     21                     MR. DAVISON:      Objection.

     22             A.      Correct.

     23    BY MS. GAFFNEY:

     24             Q.      When you would review those peculiar order

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      1    reports for those few months, what were you looking

      2    for?

      3             A.      I have no recollection the details of the

      4    report, other than I know that I was trained and I

      5    followed through on the procedure that I was taught,

      6    but I really can't remember any of the details on what

      7    I did.    It was such a brief time, and I was getting

      8    ready to leave, honestly.

      9             Q.      Would you agree, based on this e-mail

     10    about this transaction, that Mallinckrodt had very

     11    detailed information about where its product went, down

     12    to the name of the pain clinic?

     13                     MR. DAVISON:      Objection to form.

     14             A.      As I mentioned, the data that Mallinckrodt

     15    had was from the chargebacks, so anything we had was

     16    from the chargebacks that were submitted from the

     17    wholesaler.

     18    BY MS. GAFFNEY:

     19             Q.      Okay.    And in this case, the wholesaler

     20    submitted a chargeback request that the system then

     21    denied; is that accurate?

     22                     MR. DAVISON:      Objection.

     23             A.      That's what it appears.

     24    BY MS. GAFFNEY:

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      1             Q.      Are you familiar with what eventually

      2    happened to Master's, Medical Arts, and South Florida

      3    pain Management?

      4             A.      I am not --

      5                     MR. DAVISON:      Objection to form.

      6             A.      I'm not, no.

      7    BY MS. GAFFNEY:

      8             Q.      I'll represent to you here today that they

      9    were all busted by federal investigators.               Does that

     10    cause you any concern that Mallinckrodt product went to

     11    these entities that were later investigated for

     12    diversion?

     13                     MR. DAVISON:      Objection to form.

     14             A.      Does it cause me concern?

     15    BY MS. GAFFNEY:

     16             Q.      (Nodding "yes.")

     17             A.      I don't feel like -- I'm not sure I

     18    understand.      I mean, it's concerning that we have an

     19    opioid crisis, but I don't believe that Mallinckrodt

     20    did anything wrong.

     21             Q.      Exhibit 13.      Or no.    I'm sorry.      14.

     22                     MS. GAFFNEY:      Right?    Yeah.

     23                     MR. KAWAMOTO:      Yeah.

     24                     [Exhibit Mallinckrodt-Rowley-Kilper-014

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      1                     marked for identification.]

      2                     MR. DAVISON:      Do you have your glasses?

      3             A.      Yeah.

      4    BY MS. GAFFNEY:

      5             Q.      I'll --

      6             A.      I brought some cheaters.

      7             Q.      I'll put this on -- this is also a

      8    printing failure -- for the record, Exhibit 14 ends in

      9    Bates number ending 6331001.           It's an e-mail and an

     10    attachment.      Before we get to the attachment -- if you

     11    turn to the end of the e-mail chain, the earliest

     12    e-mail is from Cathie Gergen to you on October 14th,

     13    2008.

     14                     Do you remember working with Cathie

     15    Gergen?

     16             A.      I do not.

     17             Q.      So this is a data question.           Could you

     18    take a moment just to read through your reply to her

     19    question?     I'm hoping that then you can explain to me

     20    what that means in layman's terms.

     21             A.      So mine wasn't -- mine doesn't appear to

     22    be a reply.      Mine is an e-mail to Kathy Weiss.            Is that

     23    what you want me to read?

     24             Q.      Yes.

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      1             A.      Oh.

      2             Q.      I'm sorry.     Yes.    That's exactly what I

      3    meant.

      4             A.      It appears that I'm wanting to get the

      5    OptiSource members set up to receive the 867 and 852,

      6    which I can't remember what those transactions are.

      7    What else do you --

      8             Q.      Okay.    My questions are about the 857 --

      9    852 and 867.      Is there anything that you can recall

     10    sitting here today about those reports?

     11                     MR. DAVISON:      Objection to form.

     12             A.      I mean, the 850 two is -- it says in the

     13    e-mail that it's the inventory activity code, so other

     14    than recalling that the 852 is the inventory data

     15    that's submitted to us.         That's all I can ascertain

     16    from this e-mail.

     17    BY MS. GAFFNEY:

     18             Q.      So Kathy Weiss says that she will work on

     19    the Partner testing.         Do you know what that refers to?

     20                     MR. DAVISON:      Objection.

     21             A.      I really don't.

     22    BY MS. GAFFNEY:

     23             Q.      She asks about sending Excel spreadsheets

     24    to the pharma folks, and then if you flip to the first

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      1    page of this document, you ask her to send them to Kate

      2    Muhlenkamp in generic marketing as well as Sara

      3    Heideman.

      4                     Do you remember why you asked her to send

      5    it to Kate in generic marketing?

      6                     MR. DAVISON:      Objection.

      7             A.      No idea.     Sorry.

      8    BY MS. GAFFNEY:

      9             Q.      Okay.    And then at the top it explains

     10    what the attachment is -- the one attachment that's

     11    included here is the Miami-Luken test 867.               I don't

     12    know if it will be legible.

     13                     MS. GAFFNEY:      Can we zoom?

     14                     [Discussion off the record.]

     15    BY MS. GAFFNEY:

     16             Q.      So this is the 867 data from Miami-Luken.

     17    Thank you.     It's actually legible.          Okay.    So it's got

     18    dealer customer number, dealer customer name.                It looks

     19    like it's listing mainly pharmacies here.

     20                     Is it your understanding that the dealer

     21    customer is the indirect customer?

     22                     MR. DAVISON:      Objection to form.

     23             A.      I'm not familiar with the fields or this

     24    report.     Yeah, sorry.

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      1    BY MS. GAFFNEY:

      2             Q.      Which department would have handled the

      3    867 data?

      4             A.      I'm not sure.

      5             Q.      Most of these pharmacies are in Ohio.              Is

      6    it your understanding that this shows sales of

      7    Mallinckrodt product to these pharmacies in Ohio?

      8                     MR. DAVISON:      Objection to form.

      9    BY MS. GAFFNEY:

     10             Q.      I apologize for the printing.

     11             A.      I don't even see like our name --

     12    Mallinckrodt's name on this, so I really have never

     13    seen this data so I don't know if that's accurate or

     14    not.

     15             Q.      Are you saying you think that this 867

     16    data is not connected to Mallinckrodt?

     17                     MR. DAVISON:      Objection to form.

     18             A.      I just never -- I can't recognize anything

     19    from it that I don't -- yeah, I'm just saying I don't

     20    recognize -- I recognize the NDC code, so yeah, I

     21    guess, but, I'm just -- I've never seen this before so

     22    I really can't speak to what it says.

     23    BY MS. GAFFNEY:

     24             Q.      What's the NDC code?

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      1             A.      It was our item number for the products,

      2    and the field entitled Tyco item number -- some of them

      3    have the full NDC and some of them have the partial,

      4    and that's the only way that I recognized the -- oh, I

      5    see.    Dealer item number has our full NDC, so those

      6    numbers look familiar to me, is all I'm saying.

      7             Q.      Okay.    Okay.    Then is it your

      8    understanding that this 867 data in this chart is

      9    showing sales of Mallinckrodt product through

     10    Miami-Luken to pharmacies in Ohio?

     11                     MR. DAVISON:      Objection to form.

     12             A.      I can't be sure what the data is.

     13    BY MS. GAFFNEY:

     14             Q.      Do you have any understanding of how the

     15    867 data was used?

     16                     MR. DAVISON:      Objection.

     17             A.      No idea.

     18    BY MS. GAFFNEY:

     19             Q.      So this spreadsheet shows a Tug Valley

     20    Pharmacy in Williamson, West Virginia.              If Tug Valley

     21    Pharmacy submitted chargeback -- scratch that.                If Tug

     22    Valley Pharmacy is the indirect customer and

     23    Miami-Luken is the direct customer, then it would have

     24    been Miami-Luken submitting the chargeback requests; is

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      1    that correct?

      2                     MR. DAVISON:      Objection to form.

      3             A.      Yes.

      4    BY MS. GAFFNEY:

      5             Q.      So if Tug Valley Pharmacy was an indirect

      6    customer of Mallinckrodt's customer at this time, which

      7    was in 2008, that data reflecting that transaction to

      8    Tug Valley Pharmacy would have been in the chargeback

      9    system as well as in this 867 data; is that correct?

     10                     MR. DAVISON:      Objection to form.

     11             A.      I'm not sure about that.

     12    BY MS. GAFFNEY:

     13             Q.      What part of that aren't you sure about?

     14             A.      The 867 data.

     15             Q.      Okay.    How about the chargeback system,

     16    which you are familiar with?           If Tug Valley Pharmacy

     17    were an indirect customer of Mallinckrodt's customer,

     18    Miami-Luken, would the chargeback system show

     19    chargebacks to Tug Valley Pharmacy?

     20             A.      If Miam --

     21                     MR. DAVISON:      Objection to form.

     22             A.      If Miami-Luken submitted them to us, yes.

     23    BY MS. GAFFNEY:

     24             Q.      You mentioned that you were aware of the

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      1    opioid crisis from the media; is that correct?

      2             A.      Yes.

      3             Q.      Did you see any media reports about the

      4    United States House Energy and Commerce Committee's

      5    report on alleged pill dumping in West Virginia that

      6    came out in December of last year?

      7             A.      No.

      8             Q.      Okay.    That was covered in the media, and

      9    I can represent to you today that the committee's

     10    investigation found that Miami-Luken sold 6.4 million

     11    hydrocodone and oxycodone pills to Tug Valley Pharmacy

     12    from 2008 to 2015.        That's in a town that has

     13    approximately 2,700 people.

     14                     So if any of the hydrocodone and oxycodone

     15    that Miami-Luken sold to Tug Valley Pharmacy were

     16    Mallinckrodt products, would the record of those

     17    transactions show up in Mallinckrodt's data?

     18                     MR. DAVISON:      Objection to form.

     19             A.      If they were submitted in a chargeback for

     20    Miami-Luken, yes.

     21    BY MS. GAFFNEY:

     22             Q.      This is what's marked as Exhibit 15.

     23                     [Exhibit Mallinckrodt-Rowley-Kilper-015

     24                     marked for identification.]

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      1             Q.      Bates number ending in 457174.            It's an

      2    e-mail from John Adams to you, Victor Borelli, Laura

      3    Maher, and Kathy Weiss from June 23rd, 2009 -- forward

      4    of new account forms.

      5                     Is this something that you would typically

      6    receive -- new account forms -- as part of your work at

      7    Mallinckrodt?

      8             A.      No.

      9             Q.      I think we talked earlier about the

     10    customer data integrity group setting up new accounts.

     11    Is that right?

     12             A.      Uh-huh.

     13             Q.      So as a general matter, new account forms

     14    would go to CDIG?

     15             A.      Yes.

     16                     MR. DAVISON:      Objection.

     17    BY MS. GAFFNEY:

     18             Q.      Do you know why you received this?

     19                     MR. DAVISON:      Objection.      Form.

     20             A.      A lot of times the national account

     21    managers would just copy me to make sure that things

     22    would get done with shared services.             I really -- it

     23    was not necessary, but I noticed that a lot, so --

     24    BY MS. GAFFNEY:

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      1             Q.      Are some of the recipients of this e-mail

      2    from CDIG?

      3             A.      Laura Maher.

      4             Q.      Just taking a look at the attachments, a

      5    customer review checklist completed by Toby Bane.                 Do

      6    you remember who he was at Mallinckrodt?

      7             A.      He was a national account manager.

      8                     [Discussion off the record.]

      9             Q.      So is it your understanding that the

     10    national account managers would complete this checklist

     11    prior to submitting new -- a new account request?

     12             A.      I'm not sure.

     13             Q.      As part of the new account opening

     14    process, did you have any involvement?

     15             A.      None.

     16             Q.      So this -- the summary of the review here,

     17    it says that this appears to be a legitimate,

     18    well-controlled pharmaceutical business which primarily

     19    caters to dispensing physicians, and then on the other

     20    page it has a percentage of the current customer base

     21    and geographic regions.

     22                     Is it your understanding that Mallinckrodt

     23    prior to opening a new account would have information

     24    about the indirect customer base?

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      1                     MR. DAVISON:      Objection to form.

      2             A.      I have no idea.

      3    BY MS. GAFFNEY:

      4             Q.      And it also says do you process

      5    chargebacks?      If so, EDI?      What's your understanding of

      6    what that means?

      7             A.      The chargebacks would come in

      8    electronically, and so I guess they were just asking if

      9    they can handle that or some of the smaller

     10    distributors maybe did the paper submissions versus

     11    electronic.

     12             Q.      To understand the new account opening

     13    process -- at what point would you have any involvement

     14    in that process?

     15             A.      None.

     16             Q.      At what point would you enter pricing

     17    information into the pricing system?

     18             A.      After a contract was signed, and that was

     19    with direct customers.         But setting them up or any of

     20    that was -- they already had to be set up in order to

     21    put pricing on the account, if that makes sense.                 Yeah.

     22                     MR. DAVISON:      We've been going for another

     23    hour.    Is now a good time to take a quick break?

     24                     MS. GAFFNEY:      Sure.

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      1                     MR. DAVISON:      Okay.    Go off --

      2                     THE VIDEOGRAPHER:        We are going off the

      3    record at 11:12 AM.

      4                     [A brief recess was taken.]

      5                     THE VIDEOGRAPHER:        We are back on the

      6    record at 11:25 AM.

      7                     [Exhibit Mallinckrodt-Rowley-Kilper-016

      8                     marked for identification.]

      9    BY MS. GAFFNEY:

     10             Q.      Okay.    So Exhibit 16, for the record, ends

     11    in Bates number 290095.         It's an e-mail string with the

     12    earliest e-mail dated August 10th, 2009.               I'll just

     13    give you a second to look it over.

     14             A.      Okay.

     15             Q.      Okay.    So reading through these e-mails,

     16    it appears that Karen Harper needed chargeback reports

     17    pertaining to Sunrise Wholesale and was going to go

     18    first to Kate Muhlenkamp for that.             Is that your

     19    understanding?

     20             A.      That's what it looks like.          I don't

     21    remember this.

     22             Q.      And then just going off of the document --

     23    Kate Muhlenkamp was out of the office, so Karen Harper

     24    and sent to Lisa Lundergan.

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      1                     And do you remember working with Lisa

      2    Lundergan?

      3             A.      Yes, she worked for me for a brief time.

      4             Q.      Oh, okay.     In your same department?

      5             A.      She was a contract administrator, yeah.

      6             Q.      Would that --

      7                     THE VIDEOGRAPHER:        I'm sorry, Ms. Gaffney.

      8                     [Discussion off the record.]

      9    BY MS. GAFFNEY:

     10             Q.      Do you remember, Ms. Kilper, if the time

     11    period in which Lisa Lundergan was in your department

     12    was around the time of this e-mail in 2009?

     13             A.      I don't remember.

     14             Q.      And at that point in 2009, were you aware

     15    that Kate Muhlenkamp was able to run chargeback

     16    reports?

     17                     MR. DAVISON:      Objection to form.

     18             A.      I know that Kate was very good with data

     19    and would often be able to run reports, so I don't --

     20    yes, I guess.

     21    BY MS. GAFFNEY:

     22             Q.      And it appears from this e-mail chain that

     23    Lisa Lundergan could also run chargeback reports.                 Is

     24    that consistent with your understanding?

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      1             A.      Yeah, Lisa moved over to marketing, and so

      2    she did -- after she left my department she probably

      3    learned how to run reports.           I can't -- I mean, I don't

      4    know for sure if she could run reports, but yeah, there

      5    was a handful of people.          There were plenty of people

      6    that were familiar with the data, yeah.

      7             Q.      And when you say plenty of people who were

      8    familiar with the data, you're talking about the

      9    chargeback data?

     10             A.      All sales data, yeah.

     11             Q.      And who were some of those other people

     12    who were familiar with the sales data?

     13             A.      I mean, I just knew Kate and Lisa.             There

     14    were some folks in marketing that just were very good

     15    at -- they ran a lot of access reports and just good

     16    with data.     So yeah.

     17                     But it was -- Cognos was a tool that

     18    anybody could -- well, I shouldn't say anybody could

     19    use, but Cognos was a tool that we had available if you

     20    wanted to run reports, so it wasn't like specific to

     21    certain people or I don't know the people that were

     22    able to run them.        Does that make sense?

     23             Q.      Uh-huh.

     24             A.      Okay.

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      1             Q.      And is it fair to say that using the

      2    Cognos tool was not specific to a certain department at

      3    Mallinckrodt?

      4             A.      It seems like it crossed departments --

      5    the tool.     Yeah.

      6             Q.      And which were the departments at

      7    Mallinckrodt that would have used the Cognos tool most

      8    often?

      9             A.      I'm not --

     10                     MR. DAVISON:      Objection to form.

     11             A.      I'm not sure, other than my own -- like I

     12    know that I had access to the tool.             Beyond that, I

     13    know Kate, so she was in marketing.             But I don't know

     14    other departments that had it.

     15    BY MS. GAFFNEY:

     16             Q.      Just following this e-mail chain, it looks

     17    like Cathy Stewart turns to Sara Heideman for help with

     18    this task.     Do you remember which department she was in

     19    at Mallinckrodt?

     20             A.      I don't, no.

     21             Q.      And then the top of the e-mail chain, Sara

     22    is e-mailing Cathy.        She says I gave this a try, but

     23    had no luck getting the data out of JDE.               I reached out

     24    to Tiffany Rowley for help, and she said that she could

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      1    provide this data to you, no problem.

      2                     Do you remember helping provide the

      3    Sunrise data from JDE to Sara Heideman?

      4             A.      I don't.

      5             Q.      The data being requested here is

      6    chargeback data; is that correct?

      7                     MR. DAVISON:      Objection to form.

      8             A.      That's my understanding of the e-mail.

      9    BY MS. GAFFNEY:

     10             Q.      And would that data come out of JDE?

     11                     MR. DAVISON:      Objection to form.

     12             A.      No.

     13    BY MS. GAFFNEY:

     14             Q.      Okay.    Well, that might have been why Sara

     15    needed to turn to you for help, then.

     16             A.      Right.

     17             Q.      Okay.    JDE we spoke about earlier.           That

     18    was J.D. Edwards; is that right?

     19             A.      Right.

     20             Q.      And can you remind me what JDE -- what

     21    sort of information was stored in JDE again?

     22             A.      I don't know comprehensively what was

     23    stored in JDE.       I just know that our direct sales were

     24    shipped out of JDE.

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      1             Q.      Okay.    Let's go to the next exhibit.

      2    Okay.    Okay, you've been handed what's been marked

      3    Exhibit 17.

      4                     [Exhibit Mallinckrodt-Rowley-Kilper-017

      5                     marked for identification.]

      6             Q.      For the record, it's Bates ending in

      7    289983.     This is an e-mail from John Adams dated

      8    November 18th, 2009, with the subject East Main Street

      9    Pharmacy sales, trailing 12 months.             It looks like it's

     10    a spreadsheet file attached.

     11                     So you are copied on this e-mail, and Mr.

     12    Adams is e-mailing Victor Borelli and Steve Becker to

     13    say that the East Main Street Pharmacy was shut down by

     14    the DEA last week.

     15                     And if you look at the bottom of the

     16    e-mail, the attachment is coming from you to John

     17    Adams.    You say see attached sales data.             I've

     18    indicated the distributor that sold them our product.

     19                     Can you look at the attached spreadsheet

     20    and tell me which database that spreadsheet would have

     21    been generated from?

     22             A.      This is from Cognos.

     23             Q.      Okay.    Okay.    And John Adams's e-mail to

     24    Victor Borelli and Steven Becker says -- he says the

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      1    intent of the call is to make the above accounts aware,

      2    as I'm sure they are -- let them know that we have

      3    compiled an accurate list of purchases of our

      4    controlled substances over the past 12 months to this

      5    pharmacy and put it on file in the event of a review.

      6    As you can see, there was a disproportionate amount of

      7    oxy 15 and 30.

      8                     So when he says compiled an aggregate list

      9    of purchases, is it your understanding he's referring

     10    to this spreadsheet that was attached?

     11                     MR. DAVISON:      Objection to form.

     12             A.      That's what it appears.

     13    BY MS. GAFFNEY:

     14             Q.      And what's involved in compiling this

     15    aggregate list of purchases?

     16                     MR. DAVISON:      Objection to form.

     17             A.      You're asking how I ran it?

     18    BY MS. GAFFNEY:

     19             Q.      Uh-huh.

     20             A.      Yeah, I don't remember the details of how

     21    I ran it.     I just remember that I had -- went out to

     22    Cognos and pulled the data that -- I'm sure I used DEA

     23    or -- I can't be sure, actually, what I used.                But I

     24    just know that I used Cognos to pull it.

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      1             Q.      And on a very basic level, when you say

      2    used Cognos to pull it, can you walk me through what

      3    that might entail?        What steps would you take to pull

      4    that report?

      5             A.      I'm just not sure what I -- what steps I

      6    took because I don't remember pulling it.               It's just

      7    been so long.

      8             Q.      Just as a general matter, what information

      9    would you need to generate a report like this?

     10                     MR. DAVISON:      Objection to form.

     11             A.      I'm not sure what data was provided to me.

     12    I'm not sure if this was all that was provided to me

     13    before I ran the report or not.

     14    BY MS. GAFFNEY:

     15             Q.      If one of your co-workers at Mallinckrodt

     16    gave you the name of a pharmacy, would that be enough,

     17    or would you need more information?

     18                     MR. DAVISON:      Objection to form.

     19             A.      More information.

     20    BY MS. GAFFNEY:

     21             Q.      For example, what more information would

     22    you need?

     23                     MR. DAVISON:      Objection to form.

     24             A.      I mean, everything in our business was

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      1    done with a DEA number, so I mean, beyond that, beyond

      2    the DEA number, I'm not sure what else I would need,

      3    but yeah, we wouldn't typically go on just name.

      4    BY MS. GAFFNEY:

      5             Q.      If you had the name of the pharmacy and

      6    the DEA registration number, would you be able to

      7    generate a report of the sales data?

      8                     MR. DAVISON:      Objection.

      9             A.      To look like this?        I'm not sure.      I'm not

     10    sure what data I used to pull this.

     11    BY MS. GAFFNEY:

     12             Q.      Is it time-consuming to generate a report

     13    like this?

     14                     MR. DAVISON:      Objection.

     15             A.      I can't remember how long it would take to

     16    do something like this, no.

     17    BY MS. GAFFNEY:

     18             Q.      Do you remember as a general matter

     19    whether it would take multiple work days?

     20                     MR. DAVISON:      Objection.

     21             A.      I'm not exactly sure how long it took.

     22    BY MS. GAFFNEY:

     23             Q.      Do you agree that this report shows sales

     24    to a pharmacy in Columbus, Ohio?

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      1             A.      It appears --

      2                     MR. DAVISON:      Objection.

      3             A.      It appears that way.

      4    BY MS. GAFFNEY:

      5             Q.      John Adams's e-mail says as you can see,

      6    there was a disproportionate amount of oxy 15 and 30.

      7                     Would you agree that the reports generated

      8    with the Cognos tool can show the proportion of product

      9    purchased by Mallinckrodt's indirect customers?

     10                     MR. DAVISON:      Objection.

     11             A.      I'm not sure whether or not the Cognos

     12    data alone can say that.          I'm not sure.

     13    BY MS. GAFFNEY:

     14             Q.      If you wanted to provide information about

     15    the about the proportion of products that an indirect

     16    customer was purchasing, where would you look for that

     17    data?

     18                     MR. DAVISON:      Objection.

     19             A.      It wasn't my area of expertise to be

     20    looking for a disproportionate amount of anything, so

     21    I'm not sure where you would be able to find that

     22    information.

     23    BY MS. GAFFNEY:

     24             Q.      Okay.    So just to break it down a little

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      1    bit, so when we're talking about the proportion of

      2    products, we're just looking for the relative amounts

      3    of Mallinckrodt product that an indirect customer

      4    purchased; correct?

      5                     MR. DAVISON:      Objection to form.

      6             A.      Is that what you're defining as

      7    proportionate?

      8    BY MS. GAFFNEY:

      9             Q.      I'm just trying to make it as simple as

     10    possible.

     11             A.      Okay.

     12             Q.      I don't think we're talking about

     13    something super complicated, but if you have a

     14    different understanding of what the proportionate

     15    amount of products purchased means, I'd like to hear

     16    that.

     17             A.      I guess I'm just saying I don't know how

     18    you would define proportionate or disproportionate, and

     19    it certainly wasn't in my expertise to decide that,

     20    so --

     21             Q.      Understood.      But just to gather the

     22    information that would show the proportionate products

     23    purchased, so in order to see the proportion you'd just

     24    need the total amount of Mallinckrodt products

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      1    purchased by an indirect customer; right?

      2                     MR. DAVISON:      Objection to form.

      3             A.      I don't think that has anything to do with

      4    proportionate or disproportionate amounts.               That's

      5    just -- I'm sorry.        Maybe I'm misunderstanding what

      6    you're asking.

      7    BY MS. GAFFNEY:

      8             Q.      I'm sure I did not ask it very clearly.

      9    John Adams in his e-mail says as you can see, there was

     10    a disproportionate amount of oxy 15 and 30.               So this

     11    report -- it's split onto a few pages, but it lists

     12    products -- Mallinckrodt products that went to East

     13    Main Street Pharmacy in Columbus, Ohio; right?

     14             A.      Uh-huh.

     15             Q.      So in order to see the proportion, the

     16    relative amounts of oxy 15 and 30, you were just

     17    looking for the comparison of the amount of oxy 15

     18    relative to other Mallinckrodt products purchased by

     19    that indirect customer; is that fair to say?

     20                     MR. DAVISON:      Objection to form.

     21             A.      So you're defining disproportionate as

     22    relative to the other Mallinckrodt products on that --

     23    BY MS. GAFFNEY:

     24             Q.      I'm not talking about disproportionate

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      1    yet.

      2             A.      Oh, okay.

      3             Q.      I'm just talking about identifying

      4    information that would show you relative proportions of

      5    product purchased.

      6             A.      Among our portfolio products?

      7             Q.      Uh-huh.

      8             A.      Yes.    Okay.

      9             Q.      So that --

     10             A.      With you.

     11             Q.      So trying to get to that information in

     12    the data that Mallinckrodt has, where would you go to

     13    pull a report that would show, for example, the

     14    products -- the Mallinckrodt portfolio products that

     15    went to an end customer like East Main Street Pharmacy?

     16                     MR. DAVISON:      Objection to form.

     17             A.      Cognos.

     18    BY MS. GAFFNEY:

     19             Q.      Cognos?     Okay.    So is it fair to say that

     20    those amounts were relatively easy to access in the

     21    Cognos -- through the Cognos tool?

     22             A.      I don't remember in the --

     23                     MR. DAVISON:      Objection to form.        Sorry.

     24             A.      I don't remember if the report was easy to

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      1    run.    I just don't remember.         It was obtainable, yeah.

      2    BY MS. GAFFNEY:

      3             Q.      And you and other people at Mallinckrodt

      4    could generate those reports and provide them upon

      5    request?

      6             A.      Correct.

      7             Q.      And then is it fair to say that whether or

      8    not those amounts were proportionate or

      9    disproportionate was not within your responsibilities

     10    at Mallinckrodt to decide?

     11             A.      Correct.

     12             Q.      And fair to say that you would provide the

     13    information to others at Mallinckrodt when requested?

     14             A.      Correct.

     15                     MR. DAVISON:      Objection to form.

     16    BY MS. GAFFNEY:

     17             Q.      There's Exhibit 18.

     18                     [Exhibit Mallinckrodt-Rowley-Kilper-018

     19                     marked for identification.]

     20             Q.      The Bates number ends in 421620.            And if

     21    you look through the e-mail chain, you can see that

     22    this is a continuation of the e-mail that we were just

     23    discussing; is that right?

     24             A.      It appears to be, yes.

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      1             Q.      So subsequent to the e-mail that we were

      2    just discussing, Karen Harper e-mails you the next day,

      3    on November 19th, 2009, asking you whether it's

      4    feasible to run chargeback summary reports each time

      5    her group receives information about DEA actions

      6    against pharmacies or physicians.

      7                     And you reply sure, Karen.          I can always

      8    provide that data.        I will set up a report and just

      9    plug in the DEA number to see where the product went

     10    from the distributor.

     11                     So is that what we were just talking about

     12    in terms of using the Cognos tool?             When you say set up

     13    a report, is that through Cognos?

     14             A.      Yes.

     15             Q.      And when you say set up a report, is that

     16    a one-time action or would that be a report that the

     17    tool would continue to generate once you've set it up?

     18             A.      I can't remember the system well enough to

     19    say whether or not you could save reports or -- like

     20    save them or not.        It sounds like in the e-mail that

     21    possibly you could save them, but I can't recall for

     22    sure.

     23             Q.      And you ask her would the previous 12

     24    months make sense or would another time frame be more

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      1    meaningful for your purpose?

      2                     Is time frame a variable that you can use

      3    when setting these reports?

      4             A.      Yes.

      5             Q.      How far back could you go?

      6             A.      I don't know.

      7             Q.      And it appears from the e-mail where you

      8    say I will set up a report and just plug in the DEA

      9    number that the DEA number and the name of the pharmacy

     10    would be sufficient to generate the report.               Does that

     11    seem fair to say?

     12                     MR. DAVISON:      Objection to form.

     13             A.      I don't -- I mean, I reference setting up

     14    a report, so yeah, I would need more -- I'd have to

     15    know more information, I think, than just a DEA number.

     16    I -- based on what I said, I'm not sure how -- what

     17    information I used to set up the report.               I just can't

     18    remember.

     19    BY MS. GAFFNEY:

     20             Q.      Looking back at Karen's e-mail, she says

     21    I'm trying to figure out how to tie chargeback

     22    summaries into the program, realizing that chargeback

     23    data is for our customers' customers.              The sentence

     24    above that says I've been working with John Adams --

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      1    DEA-mandated suspicious --

      2                      [Interruption by the reporter.]

      3              Q.       -- order monitoring program and make it

      4    as robust as possible.          So Karen Harper is e-mailing

      5    you because she -- as she states, in November 2009

      6    she's trying to figure out how to tie chargeback

      7    summaries into the program.

      8                      Is it your understanding she's referring

      9    to the suspicious order monitoring program?

     10                      MR. DAVISON:      Objection to form.

     11              A.      Well, the e-mail states that she's

     12    referring to it.

     13    BY MS. GAFFNEY:

     14              Q.      Great.    Do you recall whether after this

     15    e-mail exchange in November 2009, Karen Harper ever

     16    asked you to run chargeback reports as part of the

     17    suspicious order monitoring program?

     18              A.      I don't remember, no.

     19              Q.      But you told her you could always provide

     20    that and you just need to plug in the DEA number; is

     21    that correct?

     22                      MR. DAVISON:      Objection.

     23              A.      Looks like what I told her, yeah.

     24    BY MS. GAFFNEY:

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      1              Q.      Okay.    You've been handed what's been

      2    marked as Exhibit 19, Bates number ending 474370.

      3                      [Exhibit Mallinckrodt-Rowley-Kilper-019

      4                      marked for identification.]

      5              Q.      And this exhibit is another continuation

      6    of the same e-mail string.           Or I should say that it is

      7    a continuation of portions of the prior e-mail string

      8    that we were just looking at.            I'll give you a sec to

      9    read through.

     10              A.      Okay.

     11              Q.      Okay.    So we have Karen e-mailing you in

     12    February 2010, apparently in response to the e-mail

     13    that we were just looking at when you e-mailed her

     14    November 2009 saying you can always provide that data.

     15                      She e-mails you in February saying we

     16    exchanged e-mails several months ago about running

     17    chargeback reports as a benefit to the business based

     18    upon information we received regarding DEA actions

     19    requesting registrants and industry news.

     20                      And she's asking whether it would be

     21    feasible -- she says it is now apparent there will be

     22    more than one to two requests per month and wants to

     23    know if that's feasible.           And then your response is

     24    to -- you respond the same day to Karen Harper and ask

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      1    for an estimate of how frequent or how many end user

      2    inquiries per month so that you can run it by your

      3    manager; correct?

      4                      MR. DAVISON:      Objection to form.

      5              A.      That's what it looks like.

      6    BY MS. GAFFNEY:

      7              Q.      You also explain I just pulled the data

      8    from Cognos.       It's nothing complicated at all.            I'd be

      9    happy to train someone in your group to do this if that

     10    makes more sense.

     11                      Did Karen Harper ever ask you to train

     12    anyone in the compliance group on Cognos?

     13              A.      I don't remember.

     14              Q.      What's your understanding of how running

     15    chargeback reports would support Karen Harper's group?

     16                      MR. DAVISON:      Objection.

     17              A.      I'm not sure, really, because this was

     18    about my interaction with Karen Harper.               Beyond that, I

     19    don't remember anything, so I'm not sure how they would

     20    correlate.

     21    BY MS. GAFFNEY:

     22              Q.      Do you have any understanding of why the

     23    compliance department would ask you for chargeback

     24    reports?

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      1                      MR. DAVISON:      Objection.

      2              A.      Just because they didn't know how to use

      3    the Cognos tool.

      4    BY MS. GAFFNEY:

      5              Q.      And as you explain, it's nothing

      6    complicated at all and you can train someone in their

      7    group to do that, but you don't recall ever training

      8    anyone in --

      9              A.      I don't --

     10                      MR. DAVISON:      Objection.

     11              A.      Yeah, I don't remember if I did or not.

     12    BY MS. GAFFNEY:

     13              Q.      Exhibit 20, for the record, ends in Bates

     14    number 421736.

     15                      [Exhibit Mallinckrodt-Rowley-Kilper-020

     16                      marked for identification.]

     17              Q.      This is another continuation of the same

     18    e-mail conversation.

     19              A.      Okay.

     20              Q.      On the second page you can see the e-mail

     21    that we were just discussing from February 22nd where

     22    you offered to pull the data from Cognos or train

     23    someone from their group.           And then it looks like the

     24    next e-mail is from Carrie Johnson on March 8th, 2010.

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      1                      Do you remember what Carrie's Johnson's

      2    role at Mallinckrodt was?

      3              A.      Nope.

      4              Q.      So Carrie Johnson is asking on March 8th

      5    if anything has been figured out on the chargeback

      6    requests yet, and then you reply asking Karen whether

      7    something was in your court with this and reminding her

      8    that you never heard back from your prior e-mail; is

      9    that right?

     10                      MR. DAVISON:      Objection.

     11              A.      That's what it looks like.

     12    BY MS. GAFFNEY:

     13              Q.      To which Karen says the ball's in her

     14    court -- speak to Carrie and get back in touch.                  Do you

     15    remember if Karen ever got back in touch with you

     16    following this e-mail?

     17              A.      I don't remember.

     18              Q.      Exhibit 21, for the record, ends in Bates

     19    286532.

     20                      [Exhibit Mallinckrodt-Rowley-Kilper-021

     21                      marked for identification.]

     22              A.      Okay.

     23              Q.      Okay.    So the last e-mail we looked at,

     24    Karen Harper had said in March of 2010 that the ball

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      1    was in her court, she'll speak to Carrie and follow up

      2    with you, and then it looks like here in May 2010 she's

      3    following up with you.          Is that fair to say?

      4                      MR. DAVISON:      Objection.

      5              A.      That's what it looks like, yeah.

      6    BY MS. GAFFNEY:

      7              Q.      So she's directing Carrie to work with you

      8    to determine if Carrie can access the programs

      9    necessary to run chargeback reports associated with the

     10    compliance -- C slash S -- controlled substance

     11    compliance industry news for Mallinckrodt commercial

     12    team initiative.

     13                      Do you remember working with Carrie

     14    Johnson on this initiative?

     15              A.      I don't even remember who Carrie Johnson

     16    was.    Sorry.

     17              Q.      So we'll just follow the e-mail.            Carrie

     18    Johnson's asking what programs you use, and you answer

     19    that you run queries in Cognos Report Studio, the new

     20    Impromptu.      Can you tell me about Impromptu?

     21                      MR. DAVISON:      Objection to form.

     22              A.      Other than it was a report writer.             That's

     23    all I remember.

     24    BY MS. GAFFNEY:

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      1              Q.      Do you remember at what time Mallinckrodt

      2    switched from using Impromptu to using Cognos?

      3              A.      No idea.     Sorry.

      4              Q.      So Carrie's saying she doesn't know if she

      5    has access; she doesn't know what it is, and then you

      6    explained to her that if she's going to be doing

      7    analysis on chargeback data, I don't know of any other

      8    way to do that besides using the sales history tool,

      9    Cognos.     And I know they offer training, and the

     10    queries are pretty simple to learn.

     11                      When you say I know they offer training,

     12    who's they?

     13              A.      I'm not sure.

     14              Q.      Do you remember if that would have been

     15    the company that makes Cognos?

     16                      MR. DAVISON:      Objection.

     17              A.      No, there was an outside company that came

     18    and trained us, so it was internal, but I can't

     19    remember who.

     20    BY MS. GAFFNEY:

     21              Q.      You said I would also be happy to help and

     22    can show you some of the reports I built just checking

     23    the data for Karen in the past.

     24                      Do you remember what sort of data you

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      1    would check for Karen?

      2              A.      I don't remember, but this -- the report

      3    that was in one of these e-mails is what I remember

      4    checking for her.

      5              Q.      Are you referring to the report that John

      6    Adams had attached in that e-mail that was -- he

      7    referred to as aggregate purchase data?

      8              A.      Wasn't that -- I thought one of the last

      9    few attachments we just talked about was me providing a

     10    report to Karen.        Was it in this chain here?           I don't

     11    know.     I mean, other than just what we've been through

     12    here, I have no recollection of running things for

     13    Karen.     It would be the examples of what we've already

     14    looked at.      Yeah.

     15              Q.      It looks like from this e-mail that

     16    Carolyn was working on getting set up to get access to

     17    Cognos Report Studio.

     18                      Do you remember if she ever got access to

     19    Cognos?

     20              A.      I don't know.

     21              Q.      Do you remember if during your time at

     22    Mallinckrodt, other people ran chargeback data reports

     23    for the compliance group besides you?

     24              A.      I don't know.

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      1              Q.      But it is your recollection that you would

      2    on occasion run chargeback data reports for Karen?

      3                      MR. DAVISON:      Objection.

      4              A.      On very sporadic occasion, yeah.

      5    BY MS. GAFFNEY:

      6              Q.      When you mention that the queries are

      7    pretty simple to learn, can you give me an example of a

      8    query that you would use?

      9                      MR. DAVISON:      Objection.      Form.

     10              A.      My only recollection has been from this

     11    time here today and the one report that I said that I

     12    ran from Cognos.        That's what I'm thinking is the only

     13    thing I remember about what they looked like.

     14    BY MS. GAFFNEY:

     15              Q.      Okay.    So an example of a query would be

     16    plugging in the DEA number as we discussed previously?

     17                      MR. DAVISON:      Objection to form.

     18              A.      I mean, I don't remember setting up a

     19    report where I plugged in a DEA number.               I just

     20    referred to in an e-mail that you can do that.                 I don't

     21    remember doing that.         But all I'm saying is I just

     22    remember like what the reports look like.                They had

     23    those types of fields that we saw on that last report.

     24              Q.      And like I mentioned, I'm not a tech

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      1    person, so I'm just trying to ask what an example of a

      2    query is.

      3              A.      Oh.

      4              Q.      What does that refer to in this context?

      5                      MR. DAVISON:      Objection.

      6              A.      A query is just what your -- the data

      7    you're wanting to get back.           So all the fields in that

      8    one attachment that we looked at that I said I ran from

      9    Cognos -- it's got various fields, and in my

     10    understanding of what I did, that was a query.

     11    BY MS. GAFFNEY:

     12              Q.      Okay.    Thank you.

     13                      [Exhibit Mallinckrodt-Rowley-Kilper-022

     14                      marked for identification.]

     15              Q.      Exhibit 22 is Bates number 289889, and it

     16    is an e-mail exchange between you and Karen Harper on

     17    June 29th, 2010.

     18              A.      Okay.

     19              Q.      Okay.    And you wrote to Karen that you

     20    spoke to your boss, Carol Svejkosky, briefly regarding

     21    the reports you request, and she's fine with you

     22    running them going forward, or she also mentioned Sandy

     23    Ivancho supports the commercial business specifically

     24    by providing sales reports and other data assistance.

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      1                      So earlier you mentioned that there were

      2    various people at Mallinckrodt who were good with data

      3    and worked with it regularly.            Would this be an example

      4    of one of the people you were thinking of?

      5              A.      Yes.

      6              Q.      You mentioned not being sure whether all

      7    of the JDE and Cognos training is necessary to get

      8    Carrie up to speed.         Is the familiarity with the JDE

      9    database also required to pull the Cognos -- or I'm

     10    sorry -- to pull the chargeback reports?

     11                      MR. DAVISON:      Objection to form.

     12              A.      I'm not sure if familiarity with JDE was

     13    necessary or not, actually.

     14    BY MS. GAFFNEY:

     15              Q.      Okay.    And you wrote it seems like a lot

     16    of training to obtain something very simple when you

     17    know the system and the data well.              Is it fair to say

     18    we've seen you in these e-mails describe it as simple

     19    to pull the chargeback data?

     20                      MR. DAVISON:      Objection to form.

     21              A.      I describe it as simple, so yeah, I felt

     22    comfortable with the system.            I've been there a long

     23    time.     So yeah.

     24    BY MS. GAFFNEY:

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      1              Q.      So Karen Harper says I can't thank you

      2    enough for the collaborative report.              We will accept

      3    your offer and appreciate the availability of

      4    chargeback reports going forward.             This is in June

      5    2010.

      6                      Do you recall whether you started

      7    providing chargeback reports to Karen Harper and her

      8    group regularly after this e-mail?

      9              A.      I don't remember.

     10              Q.      Do you recall breathe you provided any to

     11    Karen Harper and her group after this date?

     12              A.      I don't know about the dates.           Yeah, I

     13    know I've provided some to her.             I just don't know

     14    exactly when they were and if they were after this.

     15              Q.      And your recollection is that you provided

     16    them intermittently; is that right?

     17              A.      Correct.

     18                      MR. DAVISON:      Objection to form.

     19    BY MS. GAFFNEY:

     20              Q.      Earlier when I asked you about whether you

     21    were involved in suspicious order monitoring efforts,

     22    and you said only for those few months that you

     23    reviewed the peculiar order reports.

     24                      Would you understand providing chargeback

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      1    data reports to Karen Harper to be involved in

      2    suspicious order monitoring?

      3              A.      I didn't really see it that way, no.             I

      4    was often running reports for people and just helping

      5    in various functions, so I didn't really see it as a

      6    compliance-related task.           I just was providing

      7    something that they needed.

      8              Q.      When you transitioned to reviewing the

      9    peculiar order reports for those few months, did

     10    Mallinckrodt provide training to you on the Controlled

     11    Substance Act?

     12                      MR. DAVISON:      Objection to form.

     13              A.      I don't remember training specifically on

     14    the Controlled Substance Act.            I do remember being

     15    trained and sitting with Jim Rausch.

     16    BY MS. GAFFNEY:

     17              Q.      What do you remember of that training?

     18              A.      Other than just sitting with Jim Rausch at

     19    his desk, nothing.         Yeah.

     20              Q.      You were -- at the time when you

     21    transitioned to reviewing the peculiar order reports,

     22    you had said you were preparing to leave for family

     23    reasons.

     24                      Did Mallinckrodt know that you were

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      1    planning to leave when they transitioned you to

      2    reviewing the peculiar order reports?

      3                      MR. DAVISON:      Objection to form.

      4              A.      No, I don't believe so.

      5    BY MS. GAFFNEY:

      6              Q.      Exhibit 23.

      7                      [Exhibit Mallinckrodt-Rowley-Kilper-023

      8                      marked for identification.]

      9              Q.      For the record, Exhibit 23 ends in Bates

     10    561207.     It's an e-mail chain with the most recent

     11    e-mail dated July 8th, 2010.            Ms. Kilper, you are not

     12    on this e-mail chain but you're mentioned in it.

     13                      Karen Harper is e-mailing Kate Muhlenkamp,

     14    and she says Kate, also be advised that we are working

     15    with Tiffany Rowley-Kilper to establish a system to run

     16    chargeback reports related to suspicious order

     17    monitoring as needed, and we will not be calling on you

     18    for this in the future.

     19                      Do you remember working with Karen Harper

     20    to establish a system to run chargeback reports?

     21              A.      Other than what we've read through the

     22    e-mails, I don't remember anything else, or -- yeah.

     23              Q.      And is it fair to say that the e-mails

     24    we've read through reflect Karen Harper asking you

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      1    about the availability of you providing these reports

      2    and you responding that you are able to provide those

      3    reports when she needs them?

      4                      MR. DAVISON:      Objection to form.

      5              A.      That's what the e-mails indicated, yeah.

      6    BY MS. GAFFNEY:

      7              Q.      So beyond her asking about the

      8    availability of those reports and you confirming that

      9    you could provide them, did you do anything with Karen

     10    Harper to, as she says here, establish a system to run

     11    chargeback reports related to suspicious order

     12    monitoring?

     13                      MR. DAVISON:      Object --

     14              A.      Not that I can remember.

     15    BY MS. GAFFNEY:

     16              Q.      Just taking a look at this e-mail chain,

     17    it starts with Victor Borelli e-mailing Kate

     18    Muhlenkamp.       From his e-mail, it appears that one of

     19    his customers, KMI, KeySource Medical, is asking him

     20    for a favor to determine whether the indirect customer

     21    is getting Mallinckrodt product from anyone else.

     22                      Is it your understanding that this sort of

     23    thing is typical, that an indirect customer would

     24    request information from Mallinckrodt --

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      1                      MR. DAVISON:      Objection.

      2    BY MS. GAFFNEY:

      3              Q.       -- of this nature?

      4                      MR. DAVISON:      Objection.

      5              A.      Not to my knowledge, no.

      6    BY MS. GAFFNEY:

      7              Q.      Karen had in this e-mail said to Kate

      8    Muhlenkamp, now that she's working with you, she'll be

      9    not calling on Kate Muhlenkamp for this in the future.

     10                      Did you train Kate Muhlenkamp on how to

     11    run chargeback reports?

     12              A.      No.

     13              Q.      And do you remember what department Kate

     14    Muhlenkamp was in?

     15              A.      Marketing.

     16              Q.      And is it your understanding that the

     17    marketing department would work with Cognos regularly?

     18                      MR. DAVISON:      Objection.

     19              A.      Not necessarily the marketing department

     20    as a whole, but certainly individuals in it were pretty

     21    data-savvy.

     22    BY MS. GAFFNEY:

     23              Q.      Do you recall ever having meetings with

     24    people from the suspicious order monitoring team about

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      1    how to utilize chargeback data?

      2              A.      No.

      3              Q.      You've been handed Exhibit 24, Bates

      4    number ending in 268194.

      5                      [Exhibit Mallinckrodt-Rowley-Kilper-024

      6                      marked for identification.]

      7              Q.      This appears to be a calendar entry, and

      8    from what I can tell printed from your e-mail.                 Does

      9    that seem accurate to you?

     10                      MR. DAVISON:      Objection.

     11              A.      Yes.

     12    BY MS. GAFFNEY:

     13              Q.      And the calendar entry is for a meeting in

     14    July 2010.      Is that your handwriting on this document?

     15              A.      Yes.

     16              Q.      Is it your recollection that you attended

     17    this meeting?

     18              A.      I don't recall.

     19              Q.      The meeting purpose, according to this

     20    document, is that recent DEA enforcement action taken

     21    within industry, including two Mallinckrodt customers,

     22    merits a review of our existing controlled substance

     23    suspicious order monitoring program, and then one item

     24    on the engine agenda is to review additional internal

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      1    resources that exist for analyzing inputs, chargebacks,

      2    sales trending.

      3                      Do you know what sales trending refers to

      4    here?

      5              A.      I do not.

      6              Q.      Can you -- based on your experience

      7    working for Mallinckrodt over -- for over a decade and

      8    working with this data, with sales data, do you have

      9    any idea what sales trending might refer to?

     10                      MR. DAVISON:      Objection to form.

     11              A.      I don't -- I wouldn't want to guess, so

     12    no.

     13    BY MS. GAFFNEY:

     14              Q.      And in your handwriting here it says 99

     15    percent of orders legit so do not hold orders.                 What's

     16    that based on?

     17                      MR. DAVISON:      Objection to form.

     18              A.      What is the statement based on?

     19    BY MS. GAFFNEY:

     20              Q.      (Nodding "yes.")

     21              A.      I don't know.      I'm not sure if these are

     22    notes from the meeting or not.            I'm not sure.

     23              Q.      So with the agenda item to review

     24    additional internal resources that exist for analyzing

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      1    inputs, chargebacks, and sales trending, do you recall

      2    providing information to this group about these

      3    internal resources that exist for analyzing inputs?

      4              A.      I don't remember, no.

      5              Q.      Based on your experience working at

      6    Mallinckrodt, what would be some of the internal

      7    resources available for analyzing inputs that relate to

      8    suspicious order monitoring?

      9                      MR. DAVISON:      Objection to form.

     10              A.      Cognos is -- yeah.        I mean, I didn't write

     11    that, so -- but they're referring to chargeback data,

     12    so Cognos, I guess.

     13                      MS. GAFFNEY:      Okay.    You can put that

     14    aside.

     15                      MR. DAVISON:      Should we go ahead and take

     16    a lunch break?

     17                      MS. GAFFNEY:      I was just about to ask.

     18                      MR. DAVISON:      On the same page.        Going off

     19    the record.

     20                      THE VIDEOGRAPHER:       We are going off the

     21    record at 12:24 PM.

     22                      [A recess was taken.]

     23                      THE VIDEOGRAPHER:       We are back on the

     24    record at 1:10 PM.

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      1    BY MS. GAFFNEY:

      2              Q.      Okay.    Welcome back from lunch, Ms.

      3    Kilper.     Do you recall this morning reviewing e-mails

      4    in which you said that pulling the reports from Cognos

      5    was simple?

      6              A.      I remember the e-mail, yeah.

      7              Q.      And do you recall testifying earlier that

      8    many people at Mallinckrodt were savvy with data and

      9    had access to Cognos?

     10              A.      Yeah, I don't know if I said many or --

     11    but yeah, there were several.

     12              Q.      Do you recall reviewing e-mails in which

     13    you offered to train people on Cognos?

     14              A.      Yeah.

     15              Q.      And do you recall ever training anyone on

     16    Cognos?

     17              A.      Not that I recall.

     18              Q.      Were there ever restrictions on whom you

     19    could have trained on Cognos?

     20                      MR. DAVISON:      Objection to form.

     21              A.      Not that I could recall.

     22    BY MS. GAFFNEY:

     23              Q.      So if anyone had wanted to take you up on

     24    that offer to be trained on Cognos, you would have been

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      1    able to train them on how to use the program?

      2              A.      I would have checked --

      3                      MR. DAVISON:      No objection.

      4              A.      I would have checked with my boss.

      5    BY MS. GAFFNEY:

      6              Q.      And would you have any reason to think

      7    that you would be limited in who you could train on

      8    using Cognos?

      9                      MR. DAVISON:      Objection to form.

     10              A.      I'm not -- yeah, I'm not sure.           I would

     11    assume that it would have to be relevant to their job,

     12    but yeah, I just would have had to run it by my boss

     13    and see if it was -- if it made sense.

     14    BY MS. GAFFNEY:

     15              Q.      Do you recall any efforts to incorporate

     16    chargeback data into suspicious order monitoring?

     17              A.      I don't --

     18                      MR. DAVISON:      Objection to form.

     19              A.      I don't recall any efforts beyond what

     20    we've already talked about here.

     21    BY MS. GAFFNEY:

     22              Q.      And how would you characterize the efforts

     23    that we've talked about here?

     24                      MR. DAVISON:      Objection to form.

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      1              A.      Just the intermittent communication with

      2    Karen Harper on getting chargeback data.

      3    BY MS. GAFFNEY:

      4              Q.      Do you know whether the -- scratch that.

      5    Do you have any reason to believe that the compliance

      6    department placed a high priority on using chargeback

      7    data connected to suspicious order monitoring?

      8                      MR. DAVISON:      Objection to form.

      9              A.      I'm sorry.     Can you repeat the question?

     10    BY MS. GAFFNEY:

     11              Q.      Uh-huh.    Do you have any reason to believe

     12    that the compliance department placed a high priority

     13    on using chargeback data in connection to suspicious

     14    order monitoring?

     15                      MR. DAVISON:      Same objection.

     16              A.      I don't feel like I can speak to if they

     17    placed a high priority on it or not.

     18    BY MS. GAFFNEY:

     19              Q.      Do you recall anyone from the compliance

     20    department ever discussing the need to use chargeback

     21    data for suspicious order monitoring with you?

     22                      MR. DAVISON:      Objection to form.

     23              A.      Other than the communication we've seen in

     24    the e-mails today from Karen, no.

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      1    BY MS. GAFFNEY:

      2              Q.      And you testified earlier that there were

      3    several people who had -- who were savvy with data and

      4    had access to Cognos; is that accurate?

      5              A.      Correct.

      6                      MR. DAVISON:      Objection.

      7    BY MS. GAFFNEY:

      8              Q.      Were there any restrictions on people at

      9    Mallinckrodt who had access to Cognos?

     10                      MR. DAVISON:      Objection.

     11              A.      What type of restrictions?

     12    BY MS. GAFFNEY:

     13              Q.      I don't know whether there would be any;

     14    that's why I'm asking you.           Could anybody -- you said

     15    it had to be relevant to their job?

     16              A.      No, you were asking if I would train

     17    anyone.

     18              Q.      Train them.      Right.    Okay.    So that was in

     19    the context of training, but just in terms of having

     20    access to Cognos, I believe you testified earlier that

     21    people across various departments had access to it.

     22              A.      Correct.

     23              Q.      Were there any restrictions within

     24    Mallinckrodt on employees having access to Cognos?

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      1              A.      I'm not --

      2                      MR. DAVISON:      Objection.

      3              A.      I'm not aware of if there were

      4    restrictions or not.

      5    BY MS. GAFFNEY:

      6              Q.      I believe we discussed that Cognos is the

      7    report-generating tool and Partner is the system used

      8    for actually processing chargebacks.              Is that correct?

      9              A.      Correct.

     10              Q.      Do you remember back -- we looked at a

     11    document from 2002 that referenced you sitting with

     12    each member of the compliance department early on.                   Do

     13    you remember at that time whether Mallinckrodt used

     14    Cognos or whether it used Impromptu or another program?

     15                      MR. DAVISON:      Objection to form.

     16              A.      I don't remember when the change happened

     17    from Impromptu to Cognos.

     18    BY MS. GAFFNEY:

     19              Q.      When you started at Mallinckrodt, which

     20    would have been in 1999, was Mallinckrodt using Cognos

     21    at that time, or did the change happen at some point

     22    during your employment there?

     23                      MR. DAVISON:      Objection.

     24              A.      I'm actually not sure because at some

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      1    point I was made aware of Cognos, but that doesn't mean

      2    they didn't have it before I was made aware of it, so

      3    yeah.

      4    BY MS. GAFFNEY:

      5              Q.      And as we discussed from that document

      6    from 2002, you went and sat with everybody in the

      7    chargeback department, so fair to say that in 2002

      8    Mallinckrodt had a chargeback department?

      9              A.      Correct.

     10                      MR. DAVISON:      Objection.

     11    BY MS. GAFFNEY:

     12              Q.      And Mallinckrodt was -- had a system in

     13    place to honor chargeback requests at that time?

     14              A.      Yes.

     15              Q.      Do you have an understanding of how long

     16    Mallinckrodt has had a system in place to honor

     17    chargeback requests?

     18              A.      No, I have no idea.

     19              Q.      Was the chargeback system in place when

     20    you started in 1999?

     21              A.      Yes.

     22              Q.      And in order to honor a chargeback

     23    request, you need to have data specific to the indirect

     24    customer; is that accurate?

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      1                      MR. DAVISON:      Objection.

      2              A.      Since I didn't process the chargebacks,

      3    I'm not sure exactly what was necessary to process it.

      4    BY MS. GAFFNEY:

      5              Q.      But fair to say you would have needed to

      6    have known -- need to have known who the indirect

      7    customer was?       Is that fair?

      8                      MR. DAVISON:      Objection.

      9              A.      The indirect customer would have had to

     10    have been on the transaction to pay, yes.

     11    BY MS. GAFFNEY:

     12              Q.      To pay the chargeback?         Is it also

     13    accurate to say you would have needed to known -- to

     14    have known the details about the product that was

     15    shipped to the indirect customer and the amount of that

     16    product --

     17                      MR. DAVISON:      Objection.

     18    BY MS. GAFFNEY:

     19              Q.       -- in order to process a chargeback

     20    request?

     21              A.      Yes.

     22                      MR. DAVISON:      Objection.

     23    BY MS. GAFFNEY:

     24              Q.      So if Mallinckrodt was honoring chargeback

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      1    requests in 1999, it must have had a way to track at

      2    least those data points -- who the indirect customer

      3    was, the amount -- what the product was and the amount

      4    of product involved in the transaction; is that

      5    accurate?

      6                      MR. DAVISON:      Objection.

      7              A.      You said track.       I don't know about

      8    tracking it, but to process it, to pay it, yes.

      9    BY MS. GAFFNEY:

     10              Q.      Do you recall ever being trained on the

     11    characteristics of a suspicious order?

     12              A.      I --

     13                      MR. DAVISON:      Objection.

     14              A.      I remember that I sat with Jim and he

     15    trained me, but I don't remember the details of that

     16    training.

     17    BY MS. GAFFNEY:

     18              Q.      Do you recall whether that training

     19    involved the requirements of regulations under the

     20    Controlled Substances Act?

     21                      MR. DAVISON:      Objection.

     22              A.      I really don't remember any of the details

     23    of the training at all.

     24    BY MS. GAFFNEY:

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      1              Q.      Are you aware that controlled substances

      2    are classified by schedule -- for example, Schedule

      3    III, Schedule II controlled substances?

      4              A.      Yes.

      5              Q.      Can you give examples of what some

      6    controlled -- Schedule II controlled substances are?

      7              A.      I really don't even remember the portfolio

      8    of products and what would constitute Schedule II

      9    versus Schedule III or -- it just wasn't my area of

     10    expertise.

     11              Q.      When you began reviewing peculiar orders,

     12    did you feel that you were qualified to review those

     13    peculiar order reports?

     14                      MR. DAVISON:      Objection.      Form.

     15              A.      I was given the task, and I felt like I

     16    could do what they asked me to do.              Whether or not I

     17    was qualified is -- I can't really speak to that

     18    necessarily.       It's just I felt capable of administering

     19    what they were asking me to do with it.

     20    BY MS. GAFFNEY:

     21              Q.      And what is it that they were asking you

     22    to do with it?

     23              A.      I don't remember the details, but I just

     24    don't remember thinking this isn't something I get or

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      1    this isn't something I could do.             I take my job

      2    seriously, and I would have taken that very seriously,

      3    like I took everything that was asked of me there.

      4                      So I just know that I would have done the

      5    job that was required, even though I can't remember the

      6    details of it.       It's just such a short time so many

      7    years ago.

      8              Q.      Do you recall testifying earlier that you

      9    didn't have a sense of what might make an order of oxy

     10    15 and 30 disproportionate or proportionate?

     11              A.      Yes.

     12              Q.      Is whether an order of a controlled

     13    substances like oxy 15 or 30 is disproportionate or

     14    proportionate something that you would be looking for

     15    in a peculiar order report?

     16                      MR. DAVISON:      Objection to form.

     17              A.      I just, again, don't remember the details

     18    of the suspicious order report, and it was something

     19    that was generated from and created from a group of

     20    people that did not include me, so that was already set

     21    and what I was asked to do was look at it, and I don't

     22    remember beyond that what I was doing -- the details of

     23    it.    But whether or not it was proportionate or

     24    disproportionate was decided outside of my

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      1    responsibility.

      2    BY MS. GAFFNEY:

      3              Q.      Even when you were reviewing the peculiar

      4    order reports?

      5              A.      What kicked out in the form of a report.

      6    So the algorithm that was set was something that was

      7    done outside of me, and then I was asked to review it

      8    and handle whatever I was supposed to handle, which I

      9    just can't remember the details.

     10                      But yeah, what I'm saying is the orders

     11    that were on that report came from a system that was

     12    created that I didn't create.             Does that make sense?

     13              Q.      Uh-huh.    Okay.    Here's what's marked as

     14    Exhibit 25.

     15                      [Exhibit Mallinckrodt-Rowley-Kilper-025

     16                      marked for identification.]

     17                      MR. DAVISON:      Did you say 25?       25?

     18                      MS. GAFFNEY:      25.

     19                      MR. DAVISON:      Thanks.

     20    BY MS. GAFFNEY:

     21              Q.      For the record, the Bates number ends in

     22    281241.

     23              A.      Okay.

     24              Q.      So this is an e-mail from you to Karen

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      1    Harper, January 5th, 2011.           Could you please read your

      2    e-mail into the record?

      3              A.      Karen, attached is an example of the

      4    current document --

      5                      [Interruption by the reporter.]

      6              A.      Attached is an example of the current

      7    documentation.       I'm working on an SOP which explains

      8    all the reports involved in this process.                I would

      9    recommend reconvening with the team you put together

     10    for the direct side of the business.

     11                      This process has a lot to be improved

     12    upon, is extremely time-consuming, and I'm not

     13    convinced it is adding much value in its current state.

     14    It might be worth considering reports from the Cognos

     15    tool, which could look at trends by product and

     16    customer.

     17                      Since orders are shipped out even if they

     18    are included in the current report, you are really

     19    looking at historical data either way.               Call me when

     20    it's convenient to discuss the attached.               Tiffany.

     21              Q.      Thank you.     You wrote I'm working on an

     22    SOP.    What does that refer to?

     23              A.      Standard operating procedures.

     24              Q.      Got it.    Do you recall if you finished

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      1    putting together that SOP?

      2              A.      Don't remember.

      3              Q.      You wrote it might be worth considering

      4    reports from the Cognos tool which could look at trends

      5    by product and customer.           Why did you think it might be

      6    worth considering reports from the Cognos tool?

      7                      MR. DAVISON:      Objection.

      8              A.      I don't really know -- I mean, the

      9    questions were around indirect sales activity, so I was

     10    suggesting using the Cognos tool because outbound sales

     11    activity isn't going to include chargeback data.

     12    BY MS. GAFFNEY:

     13              Q.      Okay.    When you say the questions were

     14    around indirect sales activity, what do you mean by

     15    that?

     16              A.      I guess my -- again, my only interaction

     17    with Karen Harper were those random requests for

     18    chargeback data, so my involvement here was suggesting

     19    that they might want to incorporate that when looking

     20    at peculiar orders, which I knew very little about but

     21    knew it was on the direct side of the business, on the

     22    shipments out.

     23                      So -- and I was just kind of always

     24    looking at process improvement.             That was kind of one

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      1    of my things with different areas of the business, and

      2    so I was suggesting that we possibly use the Cognos

      3    tool as a way to better the system.

      4              Q.      And when you say the system, are you

      5    referring to peculiar order report system?

      6              A.      Correct.     Yeah.

      7              Q.      And how would using the Cognos tool better

      8    the peculiar order report system?

      9                      MR. DAVISON:      Objection.

     10              A.      I'm not sure how it would have, but I was

     11    entertaining the idea that it might if you wanted to

     12    look at indirect business.

     13    BY MS. GAFFNEY:

     14              Q.      How would looking at indirect business

     15    help the peculiar order monitoring?

     16                      MR. DAVISON:      Objection.

     17              A.      Again, I don't know that it would.             I just

     18    was being asked for chargeback activity from Karen, and

     19    then I was included in the peculiar order process, so

     20    all I recall is that seemed like we might want to

     21    incorporate the Cognos activity and that data into our

     22    methodology for looking at things.              Just trying to make

     23    a more robust program.

     24    BY MS. GAFFNEY:

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      1              Q.      So at this point when you're sending this

      2    e-mail -- and then you said attached is an example of

      3    the current documentation.           So this attachment -- the

      4    current documentation -- is this -- is it fair to say

      5    this is an example of a peculiar order report?

      6              A.      Uh-huh.

      7              Q.      And at this time, that peculiar order

      8    report was only looking at the direct sales; is that

      9    correct?

     10              A.      That was my understanding, yes.

     11              Q.      And it is your opinion that incorporating

     12    the indirect side of things would make it a more robust

     13    report?

     14              A.      It was just --

     15                      MR. DAVISON:      Objection to form.

     16              A.      It was just a suggestion.          I'm not saying

     17    that it would have or would not have.               Just it was a

     18    suggestion that if we wanted to look at the indirect

     19    side of the business, that using the Cognos tool would

     20    help us to do that.

     21    BY MS. GAFFNEY:

     22              Q.      Okay.    You said a moment ago that all I

     23    recall is it seemed like we might want to incorporate

     24    the Cognos activity and that data into our methodology

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      1    for looking at things just trying to make a more robust

      2    program.

      3                      So was it your opinion at that time that

      4    incorporating the Cognos activity would make a more

      5    robust program?

      6                      MR. DAVISON:      Objection to form.

      7              A.      I suggested that possibly we use it,

      8    without knowing if it would have helped make a more

      9    robust tool or not.         Does that make sense?

     10    BY MS. GAFFNEY:

     11              Q.      (Nodding "yes.")

     12              A.      Yeah.    So I don't remember beyond this

     13    ever incorporating it, so I don't know that -- it was a

     14    suggestion that obviously at the time I thought it

     15    might be worth looking into.

     16              Q.      Okay.    But you don't remember if anyone

     17    ever followed up with you on that suggestion?

     18              A.      I don't.

     19              Q.      So you write here since orders are shipped

     20    out even if they are included in the current report,

     21    you are really looking at historical data either way.

     22    Can you explain that to me, please?

     23                      MR. DAVISON:      Objection.

     24              A.      They weren't holding the orders, so if it

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      1    showed up on the report, they were still shipping it

      2    out.    So my point was that both orders have occurred in

      3    the past -- the chargeback and the shipment out to the

      4    distributor both have occurred in the past, was what I

      5    meant by that.

      6    BY MS. GAFFNEY:

      7              Q.      Okay.    So that looking at the current

      8    documentation, peculiar orders, as well as the --

      9    incorporating the Cognos tool, as you suggested here,

     10    both would be looking at historical data?

     11                      MR. DAVISON:      Objection to form.

     12              A.      Correct.

     13    BY MS. GAFFNEY:

     14              Q.      So just looking -- and this is another

     15    document that's very hard to read.              Okay.    Okay.    Is

     16    this your handwriting on this document?

     17              A.      Yes.

     18              Q.      Does looking at this document refresh your

     19    recollection of what you were reviewing for when you

     20    reviewed peculiar order reports?

     21              A.      No.

     22              Q.      But essentially you would receive a

     23    document like this and be asked to approve it and you

     24    would note that here?          Like it says okay with your

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      1    initials and the date?

      2              A.      Correct.

      3                      MR. DAVISON:      Objection to the form.

      4              A.      I know that I would have a task assigned

      5    when I get the report before I approve it.                I'm not

      6    sure that was clear, but I just want to make that

      7    clear.     So it wasn't just like got the report and

      8    approved it.

      9    BY MS. GAFFNEY:

     10              Q.      Right.

     11              A.      Okay.    I did have something to do, but I

     12    just don't remember the details of what it was that I

     13    did.

     14              Q.      Understood.

     15              A.      Okay.

     16              Q.      On the very last page of the document,

     17    there's an e-mail.         So this is an e-mail from you to

     18    Penny Myers, subject ABC, on January 5th, 2011.                  Do you

     19    recall Penny Myers's role at Mallinckrodt?

     20              A.      Not really, no.       I know she was with our

     21    addiction treatment business, but beyond that, no.

     22              Q.      So in this e-mail you're asking her about

     23    an average of 97 bottles an order and -- compared to an

     24    order for 288 bottles.          Do you know any reason why they

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      1    would be placing higher-than-average orders?

      2                      MR. DAVISON:      Objection to form.

      3                      MS. GAFFNEY:      I was just reading the

      4    e-mail.     I'm sorry.

      5                      MR. DAVISON:      Apologies.      That makes

      6    sense.     Apologies.      I got excited.

      7    BY MS. GAFFNEY:

      8              Q.      So just reading the e-mail into the

      9    record.     And then there's your note below that -- spoke

     10    to Penny regarding ABC methadone orders.               All okay.      Do

     11    you see that?

     12              A.      Uh-huh.

     13              Q.      Do you recall -- knowing that it was many

     14    years ago, can you think of what you might have asked

     15    Penny Myers about in connection with an explanation for

     16    a higher-than-average order like this example?

     17                      MR. DAVISON:      Objection to form.

     18              A.      I have no recollection of what the

     19    situation was that I spoke to her about.

     20    BY MS. GAFFNEY:

     21              Q.      And it looks from this document that this

     22    was a printout of an e-mail then with your handwritten

     23    note.     Is that your understanding from just looking at

     24    this document?

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      1              A.      Uh-huh.

      2              Q.      Do you recall whether it would have been

      3    your practice to print out this e-mail, make the note,

      4    and keep that as the record for your review for the

      5    peculiar order report?

      6              A.      I -- yes, I vaguely recall that -- keeping

      7    these reports, yes.

      8              Q.      And then this document here with the

      9    e-mail and your note would have been the record of the

     10    process that you went through to approve the order; is

     11    that correct?

     12                      MR. DAVISON:      Objection.

     13              A.      It looks like in this situation, but I

     14    can't say that I remember the process, because it

     15    doesn't seem consistent on all of these the same, so --

     16    BY MS. GAFFNEY:

     17              Q.      And in this case, your notes simply says

     18    that you spoke to her and all okay.              Without providing

     19    any more explanation for the increase -- the

     20    higher-than-average order, would there have been a

     21    place where you would have made a record of the reason

     22    for the higher-than-average order?

     23                      MR. DAVISON:      Objection.

     24              A.      No, it seems that the process was to just

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      1    make sure that it was okay and to note that.

      2    BY MS. GAFFNEY:

      3              Q.      And making sure that it okay -- was okay

      4    until contacting the person responsible for the account

      5    with that distributor?

      6                      MR. DAVISON:      Objection.

      7              A.      Yeah, I'm not sure who because I'm not

      8    sure what Penny's responsibility was, so I'm not sure

      9    exactly who I would contact on these orders.                 In this

     10    case, it's clear it was Penny Myers, but --

     11    BY MS. GAFFNEY:

     12              Q.      Uh-huh.

     13              A.      Yeah.    Beyond that I'm not sure.

     14              Q.      So this is an example of a peculiar order

     15    report as we discussed.          Do you know what system was

     16    used to generate this report?

     17              A.      I do not.

     18              Q.      If you wanted to find out how many of the

     19    orders noted in a peculiar order report were ultimately

     20    shipped by Mallinckrodt, how would you generate that

     21    report?

     22                      MR. DAVISON:      Objection.

     23              A.      Can you rephrase that?

     24    BY MS. GAFFNEY:

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      1              Q.      Uh-huh.    So if you wanted to find out how

      2    many of the orders in a peculiar order report were

      3    ultimately shipped by Mallinckrodt, where would you go

      4    to find that information?

      5                      MR. DAVISON:      Same objection.

      6              A.      Once the product ships, it would be -- the

      7    data would be available in Cognos.

      8    BY MS. GAFFNEY:

      9              Q.      Okay.    So using the information that's in

     10    this report, you could then run queries in Cognos to

     11    see the actual sales transactions related to the orders

     12    in these reports; is that correct?

     13                      MR. DAVISON:      Objection.

     14              A.      I can't say for sure because I've never

     15    done that.

     16              Q.      We discussed earlier you running reports

     17    from Cognos based on the name of a pharmacy and a DEA

     18    registration number.         Do you remember discussing that

     19    earlier?

     20              A.      Was it --

     21                      MR. DAVISON:      Objection.

     22              A.       -- in relation to indirect sales or

     23    direct?

     24    BY MS. GAFFNEY:

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      1              Q.      My understanding is that would be indirect

      2    sales because we were discussing specific pharmacies.

      3              A.      Okay, okay.      Yeah, I remember that.

      4              Q.      So you can generate those reports in

      5    Cognos based on the name of the indirect customer and

      6    the DEA registration number; is that correct?

      7                      MR. DAVISON:      Objection.

      8              A.      I can get the data that is submitted in it

      9    from a chargeback, yeah.

     10    BY MS. GAFFNEY:

     11              Q.      That would be sufficient to run a query in

     12    Cognos; is that right?

     13                      MR. DAVISON:      Same objection.

     14              A.      Yes, but this is direct transactions, so

     15    they're not the same.          I just want to make sure I'm not

     16    unclear about these reports were auto outbound sales

     17    too, so they can't be correlated to an indirect

     18    transaction with a DEA registrant.              Does that make

     19    sense?

     20    BY MS. GAFFNEY:

     21              Q.      With an order number would they be able to

     22    be correlated to an indirect transaction?

     23              A.      No, because these are -- sales are going

     24    to AmerisourceBergen, for instance, so beyond that I

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      1    would not know where they're going beyond that until

      2    they sent me a chargeback.           Does that make sense?

      3              Q.      Until AmerisourceBergen sent you the

      4    chargeback request?

      5              A.      Correct.     So all this is going to give me

      6    is like outbound orders to them.

      7              Q.      Okay.    Understood.      Thank you.     So after

      8    the transaction had taken place, the direct customer or

      9    the distributor will submit a request for a chargeback

     10    payment; is that correct?

     11                      MR. DAVISON:      Same objection.

     12              A.      After their sale.

     13    BY MS. GAFFNEY:

     14              Q.      After their sale?

     15              A.      Correct.

     16              Q.      And if you wanted to create a list of all

     17    of the pharmacies for which a distributor had requested

     18    chargeback payments, how would you go about doing that?

     19                      MR. DAVISON:      Objection.

     20              A.      The same as we talked about earlier --

     21    just the Cognos tool -- and that's -- I could use their

     22    DEA number, and it would pull any chargebacks that were

     23    requested or paid from the distributor.

     24                      [Discussion off the record.]

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      1    BY MS. GAFFNEY:

      2              Q.      Exhibit 26 ends in Bates number 465411.

      3                      [Exhibit Mallinckrodt-Rowley-Kilper-026

      4                      marked for identification.]

      5              A.      Okay.

      6              Q.      Okay.    So this document starts with an

      7    e-mail dated September 3rd, 2010, from Dave Hoffman at

      8    KeySource Medical to Victor Borelli, and he's asking

      9    Mr. Borelli specific questions about a customer of

     10    KeySource's increasing their use of Mallinckrodt

     11    oxycodone 30 milligram at a rapid pace.

     12                      So the e-mail describes a February 2010

     13    report of 39,959 tablets of Mallinckrodt oxy 30, and

     14    then the same report for the month of July is 119,587

     15    tablets.       It appears that KeySource is asking Mr.

     16    Borelli to check within Mallinckrodt's data to see if

     17    Mallinckrodt's numbers are the same.

     18                      Is that an accurate characterization of

     19    this e-mail?

     20                      MR. DAVISON:      Objection to form.

     21              A.      That's what it seems like, yeah.

     22    BY MS. GAFFNEY:

     23              Q.      A few weeks later Mr. Borelli e-mails you

     24    asking you if you ever got back to him, and you say ran

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      1    some reports.       We do show the oxy purchases shoot up in

      2    June, July, and August for this facility.                Our numbers

      3    are very close to his.          I would involve Karen Harper

      4    and find out whether we have any responsibility with

      5    this knowledge.

      6                      In your opinion, does Mallinckrodt have

      7    responsibility with this knowledge?

      8                      MR. DAVISON:      Objection to form.

      9              A.      It really wasn't my call as to who has

     10    responsibility.        I passed it on and had full confidence

     11    that our compliance team would address it and decide

     12    what they needed to do about it.             That's why I made the

     13    suggestion to involve Karen.

     14    BY MS. GAFFNEY:

     15              Q.      And what was this confidence in the

     16    compliance e-mail addressing it based on?

     17                      MR. DAVISON:      Objection.

     18              A.      What was my confidence in the compliance

     19    team based on?

     20    BY MS. GAFFNEY:

     21              Q.      Uh-huh.

     22              A.      I just believed that Mallinckrodt during

     23    my time there was very responsible and trying to do the

     24    right thing, and that's why we were taking information

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      1    like this and giving it to Karen Harper, because that

      2    was something that we took very seriously.

      3              Q.      So you said you believe that Mallinckrodt

      4    during your time there was very responsible and trying

      5    to do the right thing.          What was that belief based on?

      6                      MR. DAVISON:      Objection to form.

      7              A.      I wouldn't have worked for a company that

      8    I thought was not being responsible with their product,

      9    and there were, as you can see, a lot of communication

     10    during my time there about these pharmacies and making

     11    sure that we were -- even though the data's in the past

     12    and this is chargeback data that's already -- the sale

     13    has already occurred -- but to do whatever we could

     14    going forward with the pharmacies that we were hearing

     15    were shut down, or whatever the information was that

     16    would come in on these e-mails, that the people that I

     17    worked for and the people that they worked for --

     18    everybody was trying to do the right thing and make

     19    sure that these pharmacies weren't distributing more

     20    product than what they should be.

     21                      And so that's what I mean.          I just had a

     22    very strong confidence in the leadership there and the

     23    compliance team that was under Karen, and I wouldn't

     24    have worked there if I had felt like they were doing

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      1    anything irresponsible.

      2    BY MS. GAFFNEY:

      3              Q.      Can you think of any specific examples of

      4    actions that you or others at Mallinckrodt took to

      5    prevent the sort of volume of shipments of Mallinckrodt

      6    products going to pharmacies as we've seen in some of

      7    these documents today?

      8                      MR. DAVISON:      Objection.

      9              A.      I remember vaguely chargebacks being

     10    denied or discussion of the chargebacks being denied

     11    for future, but I couldn't -- I wasn't the one that

     12    would process the chargebacks, I wasn't one that would

     13    change whatever they would change so that the

     14    chargeback wouldn't pay, but I know that these

     15    conversations led to chargebacks being denied for

     16    entities that they believed were suspicious or whatever

     17    the term.

     18                      So yeah, I mean, I think that shows that

     19    they were serious about their responsibility in denying

     20    chargebacks to the wholesaler.

     21    BY MS. GAFFNEY:

     22              Q.      At the point of denying chargebacks to the

     23    wholesaler, Mallinckrodt has already been paid for its

     24    product which it has shipped to the wholesaler and

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      1    denying the chargeback is a financial benefit to

      2    Mallinckrodt, is it not, because Mallinckrodt does not

      3    have to then pay that amount to the wholesaler?

      4                      MR. DAVISON:      Objection.

      5              A.      I mean, it's essentially -- I mean, I

      6    wouldn't see it as a financial benefit.               I mean, it's a

      7    disruption in your customer relationship with your

      8    wholesaler so ultimately it's not going to be a --

      9    there is a risk -- for us to deny chargebacks is to

     10    upset our distributors, and that's not something that's

     11    like seen as something light.

     12                      So it wasn't -- I would say that the

     13    chargeback denial is a way for us to say -- it's the

     14    only way for us to say that -- that I know of, that we

     15    aren't agreeing to where you sold our product and --

     16    because again, it's not -- this product went to the

     17    wholesaler, and we don't know those outbound sales --

     18    you don't know where it's going from there until the

     19    chargeback comes in.

     20                      So I think -- I just felt strongly that

     21    Mallinckrodt was doing what they could do to say they

     22    were not in agreement with whatever that entity is --

     23    the customer's -- our customer's customer.                I mean,

     24    that's the way I saw it, and I felt like they were

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      1    always trying to better the process.              In the time that

      2    I was there, that was something that people took very

      3    seriously.

      4    BY MS. GAFFNEY:

      5              Q.      And do you know in any of these examples

      6    where Mallinckrodt decided not to honor a chargeback

      7    request to a certain indirect customer, whether that

      8    indirect customer -- whether there were ever any

      9    instances of that indirect customer continuing to

     10    receive Mallinckrodt product through other

     11    distributors?

     12              A.      I --

     13                      MR. DAVISON:      Objection.

     14              A.      No idea.

     15    BY MS. GAFFNEY:

     16              Q.      And given what you just explained about

     17    the role of chargeback denial, would it concern you if

     18    Mallinckrodt products still ended up going to those

     19    pharmacies after Mallinckrodt had made the decision to

     20    restrict the chargebacks?

     21                      MR. DAVISON:      Objection to form.

     22              A.      Would it concern me personally, or like --

     23    what is your question?

     24    BY MS. GAFFNEY:

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      1              Q.      Uh-huh.    Would it concern you personally?

      2                      MR. DAVISON:      Same objection.

      3              A.      I mean, it personally concerns me that

      4    there's a problem and that our product ends up in the

      5    hands of people that abuse it.            Yes, it's personally

      6    concerning, but I feel like Mallinckrodt did what it

      7    could to ensure that it was shipping product in good

      8    conscience, in good responsibility, and I don't feel

      9    that they could have done more.

     10    BY MS. GAFFNEY:

     11              Q.      You explained it's your opinion that the

     12    chargeback denial is the only way that you know of for

     13    Mallinckrodt to say we aren't agreeing to where you

     14    sold our product.        Is that right?       I'm not trying to

     15    put words in your mouth.

     16              A.      Yeah, I'm thinking --

     17              Q.      I'm looking back at the transcript and

     18    trying to be fair about how you phrased that.

     19              A.      In my limited exposure to the business,

     20    that is one way that we could say that we didn't --

     21    we're not going to honor that chargeback, is to

     22    communicate that we're not comfortable with -- based on

     23    whatever knowledge that we've obtained from like these

     24    types of things.

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      1              Q.      And could Mallinckrodt also have decided

      2    to stop shipping to a particular distributor?

      3                      MR. DAVISON:      Objection.

      4              A.      Could we have stopped shipping to a

      5    particular distributor?

      6    BY MS. GAFFNEY:

      7              Q.      (Nodding "yes.")

      8              A.      Yes.

      9              Q.      To your knowledge, did Mallinckrodt ever

     10    do that?

     11              A.      I don't know.

     12              Q.      Are you aware of whether Mallinckrodt has

     13    a duty under the Controlled Substance Act to stop

     14    suspicious orders before they're shipped?

     15                      MR. DAVISON:      Objection.

     16                      THE WITNESS:      I'm not aware of the details

     17    of the Controlled Substance Act.

     18                      MS. GAFFNEY:      Counsel, why don't we take a

     19    short break?

     20                      MR. DAVISON:      Okay.

     21                      THE VIDEOGRAPHER:       We are going off the

     22    record at 2:05 PM.

     23                      [A brief recess was taken.]

     24                      THE VIDEOGRAPHER:       We are back on the

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      1    record at 2:20 PM.

      2                      MR. DAVISON:      So we did reach out -- I

      3    understand plaintiffs -- MDL plaintiffs have no more

      4    questions?

      5                      MS. GAFFNEY:      That's correct.

      6                      MR. DAVISON:      And we did reach out to

      7    Tennessee counsel, and we understand from that reach

      8    out that she has no questions at this time, so we are

      9    all finished.

     10                      THE VIDEOGRAPHER:       We are going off the

     11    record at 2:21 PM.

     12

     13                           [SIGNATURE RESERVED.]

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      1                           C E R T I F I C A T E

      2

      3                   I, JOHN ARNDT, a Certified Shorthand

      4    Reporter and Certified Court Reporter, do hereby

      5    certify that prior to the commencement of the

      6    examination, TIFFANY KILPER was sworn by me to

      7    testify the truth, the whole truth and nothing but the

      8    truth.

      9                   I DO FURTHER CERTIFY that the foregoing is a

     10    true and accurate transcript of the proceedings as

     11    taken stenographically by and before me at the time,

     12    place and on the date hereinbefore set forth.

     13                   I DO FURTHER CERTIFY that I am neither a

     14    relative nor employee nor attorney nor counsel of any

     15    of the parties to this action, and that I am neither a

     16    relative nor employee of such attorney or counsel, and

     17    that I am not financially interested in this action.

     18

     19

     20                            __
                                   ______________________________
                                    _____________________

     21                            JOHN ARNDT, CSR, CCR, RDR, CRR

     22                            CSR No. 084-004605

     23                            CCR No. 1186

     24

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      1

      2

      3                      I, TIFFANY KILPER, the witness

      4    herein, having read the foregoing testimony of the

      5    pages of this deposition, do hereby certify it to be a

      6    true and correct transcript, subject to the

      7    corrections, if any, shown on the attached page.

      8

      9

     10

     11                                            ______________________

     12                                            TIFFANY KILPER

     13

     14

     15    Sworn and subscribed to before me,

     16    This ________ day of __________, 201_.

     17

     18

     19    _______________________________

     20                Notary Public

     21

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     23

     24

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      1

      2                         DEPOSITION ERRATA SHEET

      3

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      6    Reason for change:________________________________

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     20    __________________________________________________

     21    Reason for change:________________________________

     22

     23    SIGNATURE:_______________________DATE:___________

     24                   TIFFANY KILPER

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